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                EXHIBIT A
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                          NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code      Task Code Description     Professional     Date            Description                                            Hours          Rate         Amount
            1 Meeting / teleconference   Coley P. Brown          2/1/2010 Met with A. Cerceo and D. Riley of Cleary regarding            1.10          410            451.00
              with Debtor Management,                                     502(b)(6) cap calculation meeting.
              Board, or Counsel

            1 Meeting / teleconference   Coley P. Brown          2/2/2010 Met with R. Boris and C. Shields of Nortel and S.              1.30          410            533.00
              with Debtor Management,                                     Galvis and S. Bianca of Cleary for weekly claims
              Board, or Counsel                                           management meeting.

            1 Meeting / teleconference   Coley P. Brown          2/4/2010 Met with K. Ng and R. Boris of Nortel regarding                1.20          410            492.00
              with Debtor Management,                                     employee claims template.
              Board, or Counsel

            1 Meeting / teleconference   Coley P. Brown          2/4/2010 Met with R. Boris and M. McCollom of Nortel and                1.50          410            615.00
              with Debtor Management,                                     L. Mandell and D. Riley of Cleary for weekly real
              Board, or Counsel                                           estate clams sub group meeting.

            1 Meeting / teleconference   Coley P. Brown          2/9/2010 Met with R. Boris and C. Shields of Nortel and S.              1.30          410            533.00
              with Debtor Management,                                     Galvis and S. Bianca of Cleary for weekly claims
              Board, or Counsel                                           management meeting.

            1 Meeting / teleconference   Coley P. Brown          2/9/2010 Met with L. Mandell, D. Riley and A. Cerceo of                 1.30          410            533.00
              with Debtor Management,                                     Cleary regarding Nortel Real Estate Claims -
              Board, or Counsel                                           Qualitative Chart.

            1 Meeting / teleconference   Coley P. Brown      2/11/2010 Met with R. Boris and M. McCollom of Nortel and                   1.20          410            492.00
              with Debtor Management,                                  L. Mandell and D. Riley of Cleary for weekly real
              Board, or Counsel                                        estate clams sub group meeting.

            1 Meeting / teleconference   Coley P. Brown      2/16/2010 Met with R. Boris and C. Shields of Nortel and S.                 1.30          410            533.00
              with Debtor Management,                                  Galvis and S. Bianca of Cleary for weekly claims
              Board, or Counsel                                        management meeting.

            1 Meeting / teleconference   Coley P. Brown      2/16/2010 Met with R. Boris and K. Ng of Nortel and S. Galvis               1.30          410            533.00
              with Debtor Management,                                  and I. Hernandez of Cleary regarding employee
              Board, or Counsel                                        claims database.

            1 Meeting / teleconference   Coley P. Brown      2/18/2010 Met with R. Boris and M. McCollom of Nortel and                   1.30          410            533.00
              with Debtor Management,                                  L. Mandell and D. Riley of Cleary for weekly real
              Board, or Counsel                                        estate clams sub group meeting.

            1 Meeting / teleconference   Coley P. Brown      2/23/2010 Met with R. Boris and C. Shields of Nortel and S.                 1.30          410            533.00
              with Debtor Management,                                  Galvis and S. Bianca of Cleary for weekly claims
              Board, or Counsel                                        management meeting.

            1 Meeting / teleconference   Coley P. Brown      2/23/2010 Met with R. Boris of Nortel and M. Alcock, L.                     1.00          410            410.00
              with Debtor Management,                                  LaPorte and L. Bagarella of Cleary regarding source
              Board, or Counsel                                        of employee related scheduled liabilities.

            1 Meeting / teleconference   Coley P. Brown      2/24/2010 Met with T. Lightfoot and C. Gannon in order to                   1.20          410            492.00
              with Debtor Management,                                  obtain GIDs for the employee claims lacking GID
              Board, or Counsel                                        information.

            1 Meeting / teleconference   Coley P. Brown      2/25/2010 Met with R. Boris of Nortel regarding update on                   1.10          410            451.00
              with Debtor Management,                                  Nortel workstreams and future deliverables.
              Board, or Counsel

            1 Meeting / teleconference   Coley P. Brown      2/25/2010 Weekly real estate claims call with L. Mandell, A.                1.10          410            451.00
              with Debtor Management,                                  Cerceo and D. Riley of Cleary and R. Boris of Nortel.
              Board, or Counsel

            1 Meeting / teleconference   Joseph McKenna          2/4/2010 Preparation for and participation in teleconference            0.70          335            234.50
              with Debtor Management,                                     with Nortel prime N. Quinn and Cleary team to
              Board, or Counsel                                           discuss information request templates and US entity
                                                                          review.
            1 Meeting / teleconference   Joseph McKenna          2/8/2010 Teleconference with Nortel primes (N. Quinn and C.             0.50          335            167.50
              with Debtor Management,                                     Glaspell), Cleary legal team (C. Wauters), and Huron
              Board, or Counsel                                           associate and director to discuss workplan and
                                                                          appropriate contacts for gathering information
                                                                          needed for plan of reorganization.
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                          NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code      Task Code Description     Professional     Date            Description                                             Hours          Rate         Amount
            1 Meeting / teleconference   Joseph McKenna          2/9/2010 Discussing intellectual property owned by US entities           0.80          335             268.00
              with Debtor Management,                                     as part information gathering effort to be used in
              Board, or Counsel                                           drafting plan of reorganization.

            1 Meeting / teleconference   Joseph McKenna      2/11/2010 Preparing for conversation with US and CALA tax                    0.60          335             201.00
              with Debtor Management,                                  leader, J. Wood (Nortel), and documenting notes
              Board, or Counsel                                        from discussion regarding potential tax liabilities
                                                                       with non-debtor entities.
            1 Meeting / teleconference   Joseph McKenna      2/12/2010 Preparation for and discussion with J. Wood (Nortel)               0.30          335             100.50
              with Debtor Management,                                  regarding potential tax liabilities relevant to plan of
              Board, or Counsel                                        reorganization.

            1 Meeting / teleconference   Joseph McKenna      2/16/2010 Teleconference with C. Wauters (Cleary), Huron                     0.80          335             268.00
              with Debtor Management,                                  review team, and Nortel primes to discuss US Entity
              Board, or Counsel                                        Review progress and open items.

            1 Meeting / teleconference   Joseph McKenna      2/22/2010 Teleconference with Huron, Cleary, and Nortel US                   0.60          335             201.00
              with Debtor Management,                                  entity review teams discuss progress and required
              Board, or Counsel                                        updates to templates.

            1 Meeting / teleconference   Lee Sweigart            2/2/2010 Meeting with R. Boris, C. Shields, Nortel, Cleary and           1.00          555             555.00
              with Debtor Management,                                     Epiq to discuss status of claims management process.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart            2/2/2010 Documented meeting with R. Boris, C. Shields,                   0.50          555             277.50
              with Debtor Management,                                     Cleary and Epiq to discuss status of claims
              Board, or Counsel                                           management process.

            1 Meeting / teleconference   Lee Sweigart            2/3/2010 Discussed convenience class analysis with R. Boris              1.00          555             555.00
              with Debtor Management,                                     (Nortel) and incorporated revisions.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart            2/3/2010 Meeting with R. Boris, Nortel, and Cleary regarding             1.00          555             555.00
              with Debtor Management,                                     the real estate claim review and resolution process.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart            2/5/2010 Subsequent conversation with R. Boris regarding                 0.50          555             277.50
              with Debtor Management,                                     potential convenience class.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart            2/9/2010 Meeting with R. Boris, C. Shields, Nortel, Cleary and           1.00          555             555.00
              with Debtor Management,                                     Epiq to discuss status of claims management process.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart            2/9/2010 Documented meeting with R. Boris, C. Shields,                   0.50          555             277.50
              with Debtor Management,                                     Nortel, Cleary and Epiq to discuss status of claims
              Board, or Counsel                                           management process.

            1 Meeting / teleconference   Lee Sweigart        2/10/2010 Participated in claims management discussion with                  2.00          555            1110.00
              with Debtor Management,                                  creditor financial advisors.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart        2/11/2010 Meeting with R. Boris, Nortel, and Cleary regarding                1.00          555             555.00
              with Debtor Management,                                  the real estate claim review and resolution process.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart        2/11/2010 Meeting with Nortel procurement team to discuss                    1.00          555             555.00
              with Debtor Management,                                  process and deadlines regarding contract assumptions
              Board, or Counsel                                        and rejections.

            1 Meeting / teleconference   Lee Sweigart        2/16/2010 Call with Nortel and Cleary to discuss current status              1.00          555             555.00
              with Debtor Management,                                  of employee claims review and employee database.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart        2/16/2010 Meeting with R. Boris, C. Shields, Nortel, Cleary and              1.00          555             555.00
              with Debtor Management,                                  Epiq to discuss status of claims management process.
              Board, or Counsel
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                          NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code      Task Code Description     Professional        Date            Description                                             Hours          Rate         Amount
            1 Meeting / teleconference   Lee Sweigart           2/16/2010 Documented meeting with R. Boris, C. Shields,                      0.50          555            277.50
              with Debtor Management,                                     Nortel, Cleary and Epiq to discuss status of claims
              Board, or Counsel                                           management process.

            1 Meeting / teleconference   Lee Sweigart           2/18/2010 Meeting with R. Boris, Nortel, and Cleary regarding                1.00          555            555.00
              with Debtor Management,                                     the real estate claim review and resolution process.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart           2/18/2010 Meeting with R. Boris, Nortel to discuss current                   1.00          555            555.00
              with Debtor Management,                                     status of workstreams and action items for next week.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart           2/23/2010 Meeting with R. Boris, C. Shields, Nortel, Cleary and              1.00          555            555.00
              with Debtor Management,                                     Epiq to discuss status of claims management process.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart           2/23/2010 Documented meeting with R. Boris, C. Shields,                      0.50          555            277.50
              with Debtor Management,                                     Nortel, Cleary and Epiq to discuss status of claims
              Board, or Counsel                                           management process.

            1 Meeting / teleconference   Lee Sweigart           2/23/2010 Meeting with Nortel and Cleary to discuss status of                1.50          555            832.50
              with Debtor Management,                                     employee claims review and source information used
              Board, or Counsel                                           to compile Schedule F.

            1 Meeting / teleconference   Lee Sweigart           2/23/2010 Reviewed action register from previous claims                      0.50          555            277.50
              with Debtor Management,                                     meeting to prepared for 2/23 meeting.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart           2/24/2010 Call with Nortel and Cleary to discuss current status              0.90          555            499.50
              with Debtor Management,                                     of employee claims review and employee database.
              Board, or Counsel

            1 Meeting / teleconference   Lee Sweigart           2/25/2010 Meeting with R. Boris, Nortel, and Cleary regarding                1.00          555            555.00
              with Debtor Management,                                     the real estate claim review and resolution process.
              Board, or Counsel

            1 Meeting / teleconference   Matthew J. Fisher          2/2/2010 Met with M. Giamberardino and regional controllers              1.00          555            555.00
              with Debtor Management,                                        (Nortel) to discuss status of intercompany out-of-
              Board, or Counsel                                              balance issues and timing/resources needed for
                                                                             resolution.
            1 Meeting / teleconference   Matthew J. Fisher          2/2/2010 Met with C. Wauters (CGSH) of outside counsel to                0.30          555            166.50
              with Debtor Management,                                        discuss financial data and contract information
              Board, or Counsel                                              available for consideration for US entities.

            1 Meeting / teleconference   Matthew J. Fisher          2/3/2010 Met with N. Quinn (Nortel) to discuss US entity                 1.00          555            555.00
              with Debtor Management,                                        needed for consideration by outside counsel in
              Board, or Counsel                                              developing Plan and timing/resources needed to
                                                                             prepare contact data and M&A related requests.
            1 Meeting / teleconference   Matthew J. Fisher          2/4/2010 Met with N. Quinn (Nortel) to follow up on                      0.70          555            388.50
              with Debtor Management,                                        information needed for US entities and identify
              Board, or Counsel                                              resources needed to gather data.

            1 Meeting / teleconference   Matthew J. Fisher          2/4/2010 Met with A. Dhokia and working team (Nortel) to                 0.90          555            499.50
              with Debtor Management,                                        discuss plans for identifying population of contracts
              Board, or Counsel                                              to be addressed in Plan of Reorganization.

            1 Meeting / teleconference   Matthew J. Fisher          2/8/2010 Met with N. Quinn (Nortel) to follow up on                      1.00          555            555.00
              with Debtor Management,                                        information needed for US entities and identify
              Board, or Counsel                                              resources needed to gather data.

            1 Meeting / teleconference   Matthew J. Fisher          2/9/2010 Met with M. Giamberardino and regional controllers              1.20          555            666.00
              with Debtor Management,                                        (Nortel) to discuss status of intercompany out-of-
              Board, or Counsel                                              balance issues and timing/resources needed for
                                                                             resolution.
            1 Meeting / teleconference   Matthew J. Fisher          2/9/2010 Met with A. Dhokia (Nortel) and outside counsel to              1.00          555            555.00
              with Debtor Management,                                        discuss items needed for dissolution of four US-
              Board, or Counsel                                              owned entities in EMEA region.
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                          NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code      Task Code Description     Professional        Date            Description                                              Hours          Rate         Amount
            1 Meeting / teleconference   Matthew J. Fisher      2/10/2010 Met with R. Boris, A. Bifield (Nortel) J. Ray, outside              2.80          555            1554.00
              with Debtor Management,                                     counsel and creditors advisors to discuss status of
              Board, or Counsel                                           claims resolution.

            1 Meeting / teleconference   Matthew J. Fisher      2/10/2010 Met with R. Boris (Nortel) to discuss data required                 0.50          555             277.50
              with Debtor Management,                                     regarding M&A transactions per request of outside
              Board, or Counsel                                           counsel.

            1 Meeting / teleconference   Matthew J. Fisher      2/11/2010 Met with A. Dhokia (Nortel) and procurement team                    0.70          555             388.50
              with Debtor Management,                                     to discuss treatment of executory contracts and
              Board, or Counsel                                           timeline for rejection/assumption decisions.

            1 Meeting / teleconference   Matthew J. Fisher      2/11/2010 Met with M. Giamberardino (Nortel) regarding                        0.50          555             277.50
              with Debtor Management,                                     Gemini database questions on certain trading pairs.
              Board, or Counsel

            1 Meeting / teleconference   Matthew J. Fisher      2/12/2010 Met with monitor and regional controllers to discuss                1.00          555             555.00
              with Debtor Management,                                     intercompany match balances and postpetition
              Board, or Counsel                                           citinetting items pending.

            1 Meeting / teleconference   Matthew J. Fisher      2/16/2010 Met with M. Giamberardino and regional controllers                  1.10          555             610.50
              with Debtor Management,                                     (Nortel) to discuss status of intercompany out-of-
              Board, or Counsel                                           balance issues and timing/resources needed for
                                                                          resolution.
            1 Meeting / teleconference   Matthew J. Fisher      2/16/2010 Met with A. Dhokia (Nortel) and outside counsel to                  1.20          555             666.00
              with Debtor Management,                                     discuss items needed for dissolution of four US-
              Board, or Counsel                                           owned entities in EMEA region and prepared
                                                                          intercompany balance information for review by
                                                                          outside counsel.
            1 Meeting / teleconference   Matthew J. Fisher      2/16/2010 Prepared schedules and met with J. Byam and J.                      1.40          555             777.00
              with Debtor Management,                                     Loatman (CGSH) to discuss intercompany trading
              Board, or Counsel                                           pairs between and among US entities.

            1 Meeting / teleconference   Matthew J. Fisher      2/16/2010 Met with D. Glass (Nortel) to discuss effects of                    0.40          555             222.00
              with Debtor Management,                                     M&A contracts on US entities
              Board, or Counsel

            1 Meeting / teleconference   Matthew J. Fisher      2/17/2010 Met with C. Glaspell (Nortel) to discuss accounting                 0.40          555             222.00
              with Debtor Management,                                     and reporting timeline and plan for MOR and other
              Board, or Counsel                                           Debtor related filings.

            1 Meeting / teleconference   Matthew J. Fisher      2/17/2010 Met with S. Charanjit (Nortel) to discuss global                    0.40          555             222.00
              with Debtor Management,                                     liquidation analysis and timing for updating with
              Board, or Counsel                                           current data.

            1 Meeting / teleconference   Matthew J. Fisher      2/18/2010 Met with G. McColgan (Nortel) to discuss status of                  0.60          555             333.00
              with Debtor Management,                                     patents held by US entities and license agreements
              Board, or Counsel                                           with third parties.

            1 Meeting / teleconference   Matthew J. Fisher      2/18/2010 Discussed liquidation analysis with J. Ray (Nortel).                0.30          555             166.50
              with Debtor Management,
              Board, or Counsel

            1 Meeting / teleconference   Matthew J. Fisher      2/24/2010 Met with J. Byam and J. Loatman (CGSH) to discuss                   1.00          555             555.00
              with Debtor Management,                                     intercompany claims trading partner detail.
              Board, or Counsel

            1 Meeting / teleconference   Michael Scannella          2/4/2010 Conference call with Nortel and Cleary                           0.50          335             167.50
              with Debtor Management,                                        representatives to discuss Nortel Entity Templates
              Board, or Counsel                                              and next steps.

            1 Meeting / teleconference   Michael Scannella          2/8/2010 Call with Cleary and Nortel representatives to discuss           0.60          335             201.00
              with Debtor Management,                                        populating of entity Templates.
              Board, or Counsel

            1 Meeting / teleconference   Michael Scannella          2/9/2010 Discussion with D. Riley and A. Cerceo regarding                 0.90          335             301.50
              with Debtor Management,                                        502(b)(6) updates. Follow-up discussion with Huron
              Board, or Counsel                                              manager to discuss next steps.
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                           NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code      Task Code Description     Professional        Date            Description                                           Hours          Rate         Amount
            1 Meeting / teleconference   Michael Scannella      2/16/2010 Conference call with Nortel and Cleary                           0.60          335            201.00
              with Debtor Management,                                     representatives to discuss Nortel Entity Templates
              Board, or Counsel                                           and next steps.

            1 Meeting / teleconference   Michael Scannella      2/17/2010 Discussion with M. McCollom (Nortel) and Huron                   0.50          335            167.50
              with Debtor Management,                                     manager regarding BLJC 90 day payments.
              Board, or Counsel

            1 Meeting / teleconference   Michael Scannella      2/22/2010 Conference call with Nortel and Cleary                           0.50          335            167.50
              with Debtor Management,                                     representatives to discuss Nortel Entity Templates
              Board, or Counsel                                           and next steps.

            4 Court Hearings /           Coley P. Brown             2/2/2010 Updated the omnibus tracking document with the                1.30          410            533.00
              Preparation                                                    omnibus 4 information and provided it to K. Ng of
                                                                             Nortel.
            4 Court Hearings /           Coley P. Brown             2/2/2010 Reviewed the omnibus 5-7 excel file provided by A.            1.40          410            574.00
              Preparation                                                    Tsai of Epiq and provided it to K. Ng of Nortel.

            4 Court Hearings /           Coley P. Brown         2/12/2010 Worked with A. Tsai of Epiq regarding omnibus 8B                 0.90          410            369.00
              Preparation                                                 amended and superseded and duplicate objections.

            4 Court Hearings /           Coley P. Brown         2/15/2010 Reviewed the omnibus 8B exhibits and supporting                  1.50          410            615.00
              Preparation                                                 excel detail provided by A. Tsai of Epiq.

            4 Court Hearings /           Joseph McKenna          2/5/2010 Updating Huron claims triage database to reflect                 1.60          335            536.00
              Preparation                                                 claims filed in omnibus objections filed February 2
                                                                          and changes to objection population made by Cleary
                                                                          claims team.
            4 Court Hearings /           Joseph McKenna          2/5/2010 Updating Huron claims objection tracking document                2.50          335            837.50
              Preparation                                                 to reflect filing of omnibus objections 5 through 7 on
                                                                          February 1, 2010.
            4 Court Hearings /           Joseph McKenna         2/12/2010 Preparing new omnibus objection templates for                    1.60          335            536.00
              Preparation                                                 additional duplicate and amended or superseded
                                                                          claims. Templates delivered to Epiq and Cleary
                                                                          claims teams for discussion and preparation of
                                                                          exhibits.
            4 Court Hearings /           Joseph McKenna         2/23/2010 Investigating Cleary questions regarding claims                  1.20          335            402.00
              Preparation                                                 placed on eighth omnibus objection templates.
                                                                          Incorporating information on other claims filed by
                                                                          claimants into data file for Cleary.
            4 Court Hearings /           Joseph McKenna         2/23/2010 Investigating Cleary questions regarding claims                  1.60          335            536.00
              Preparation                                                 placed on eighth omnibus objection templates.
                                                                          Incorporating information on claimants' employer
                                                                          into data file for Cleary.
            4 Court Hearings /           Joseph McKenna         2/23/2010 Investigating Cleary questions regarding claims                  1.30          335            435.50
              Preparation                                                 placed on eighth omnibus objection templates.
                                                                          Incorporating information on timeliness of filing of
                                                                          claims in data file for Cleary.
            5 Case Reporting: UST        Coley P. Brown          2/3/2010 Investigated the noticing issue of employees                     1.70          410            697.00
              Reports, Statements &                                       addressed by GID and sent to work address to
              Schedules                                                   determine if they received notice at home address.

            5 Case Reporting: UST        James Lukenda              2/4/2010 Nortel-review timing for MOR filings, comments on             0.20          725            145.00
              Reports, Statements &                                          schedule.
              Schedules
            6 Retention and Fee          Coley P. Brown         2/11/2010 Reviewed the January fee application and supporting              2.00          410            820.00
              Applications                                                documents and provided comments to Huron
                                                                          associate.
            6 Retention and Fee          Coley P. Brown         2/11/2010 Reconciled the January fee application invoice fees              2.40          410            984.00
              Applications                                                and expenses and provided comments to Huron
                                                                          associate.
            6 Retention and Fee          Coley P. Brown         2/11/2010 Reviewed the January fee application time and                    1.90          410            779.00
              Applications                                                expense narratives to ensure proper documentation

            6 Retention and Fee          Coley P. Brown         2/18/2010 Reviewed the 4th quarterly fee application and                   1.50          410            615.00
              Applications                                                provided comments to Huron associate.
            6 Retention and Fee          James Lukenda           2/1/2010 Nortel-response to C. Glaspell (Nortel) on inquiry               0.30          725            217.50
              Applications                                                regarding asset sale assistance.
            6 Retention and Fee          James Lukenda          2/15/2010 Nortel-review monthly statement, comments to                     1.00          725            725.00
              Applications                                                Huron associate, finalize.
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                           NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code      Task Code Description     Professional        Date            Description                                              Hours          Rate         Amount
            6 Retention and Fee          James Lukenda          2/18/2010 Nortel-read 4th interim application, sign-off.                      0.30          725             217.50
              Applications
            6 Retention and Fee          Lee Sweigart           2/10/2010 Prepared detailed time report for Jan-10 for work on                2.50          555            1387.50
              Applications                                                Nortel engagement.
            6 Retention and Fee          Matthew J. Fisher       2/3/2010 Prepared monthly fee statement in accordance with                   0.50          555             277.50
              Applications                                                local rules.
            6 Retention and Fee          Michael Scannella       2/8/2010 Correspondence with N. Ahmed (Nortel) providing                     0.50          335             167.50
              Applications                                                January fee and expense estimates.
            6 Retention and Fee          Michael Scannella       2/8/2010 Update of cover sheet, interim application, and                     0.70          335             234.50
              Applications                                                invoice for January 2010 fee application.
            6 Retention and Fee          Michael Scannella       2/9/2010 Update of time and fee detail for January Fee                       1.10          335             368.50
              Applications                                                Application.
            6 Retention and Fee          Michael Scannella       2/9/2010 Prepared write-offs for January fee application and                 0.90          335             301.50
              Applications                                                reviewed time and fee entries.
            6 Retention and Fee          Michael Scannella      2/10/2010 Prepared quarterly fee application exhibits and                     1.60          335             536.00
              Applications                                                updated language in monthly fee application to
                                                                          reflect rate adjustments.
            6 Retention and Fee          Michael Scannella      2/11/2010 Updated the Interim Application and Exhibit C for                   1.40          335             469.00
              Applications                                                January Fee Application.
            6 Retention and Fee          Michael Scannella      2/11/2010 Updated the Cover Sheet and excel support for                       1.90          335             636.50
              Applications                                                January Fee Application.
            6 Retention and Fee          Michael Scannella      2/12/2010 Reviewed matter codes to ensure tasks performed                     0.40          335             134.00
              Applications                                                were appropriately tagged in preparation of the
                                                                          January Fee Application.
            6 Retention and Fee          Michael Scannella      2/12/2010 Finalized draft January Fee Application and                         2.00          335             670.00
              Applications                                                submitted to Huron managing director for review.
            6 Retention and Fee          Michael Scannella      2/15/2010 Created appropriate invoices for Exhibit C and                      2.30          335             770.50
              Applications                                                ensured fees and expenses were correctly allocated
                                                                          amongst four invoices (US, US-11, Can, Can-11).

            6 Retention and Fee          Michael Scannella      2/15/2010 Incorporated Canadian fees and expenses into                        1.00          335             335.00
              Applications                                                January Fee Application documentation.
            6 Retention and Fee          Michael Scannella      2/15/2010 Added Canadian fees and expenses for January to                     1.20          335             402.00
              Applications                                                supporting excel file and ensured taxes were
                                                                          allocated correctly.
            6 Retention and Fee          Michael Scannella      2/16/2010 Drafted e-mail to A. Cordo (MNAT) and provided                      0.50          335             167.50
              Applications                                                Huron's 12th monthly fee application for filing.

            6 Retention and Fee          Michael Scannella      2/16/2010 Prepared 4th quarterly fee application and submitted                1.10          335             368.50
              Applications                                                to Huron manager for review.
            6 Retention and Fee          Michael Scannella      2/18/2010 Finalized quarterly fee application, submitted to                   1.20          335             402.00
              Applications                                                Huron managing director for review, and filed with
                                                                          the court.
            7 Disclosure Statement / Plan Brian Heinimann        2/1/2010 Review of materials and meeting with Huron                          0.90          410             369.00
              of Reorganization                                           director; Huron manager; and Huron associates
                                                                          regarding liquidation analysis.
            7 Disclosure Statement / Plan Brian Heinimann        2/2/2010 Prepared reconciliation of Nortel records of legal                  1.60          410             656.00
              of Reorganization                                           contracts included in Schedule G against Huron
                                                                          records, and drafted e-mail to R. Timberg, Nortel.
            7 Disclosure Statement / Plan Brian Heinimann        2/2/2010 Meetings with Huron director and Huron associate                    0.80          410             328.00
              of Reorganization                                           regarding legal contracts included in Schedule G, and
                                                                          follow up e-mail to R. Timberg, Nortel.

            7 Disclosure Statement / Plan Brian Heinimann        2/3/2010 Reviewed liquidation analysis provided by Huron                     1.30          410             533.00
              of Reorganization                                           director and prepared notes for discussion on
                                                                          necessary steps to update for US entities.
            7 Disclosure Statement / Plan Brian Heinimann       2/24/2010 Review of relevant materials and discussion with                    1.50          410             615.00
              of Reorganization                                           Huron director regarding liquidation analysis of
                                                                          Nortel Networks, Inc. and subsidiaries.
            7 Disclosure Statement / Plan Coley P. Brown         2/1/2010 Met with Huron directors and associates regarding                   1.20          410             492.00
              of Reorganization                                           hypothetical liquidation analysis kickoff meeting.

            7 Disclosure Statement / Plan Coley P. Brown            2/2/2010 Provided Huron associates with Nortel case numbers               1.10          410             451.00
              of Reorganization                                              for purposes of the hypothetical liquidation analysis.

            7 Disclosure Statement / Plan Coley P. Brown            2/2/2010 Provided Huron manager with the amended schedule                 0.90          410             369.00
              of Reorganization                                              G for purposes of the HLA.
            7 Disclosure Statement / Plan Coley P. Brown            2/8/2010 Corresponded with P. Smith-Siddiqi regarding                     1.10          410             451.00
              of Reorganization                                              remaining contracts after liquidation process.
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Task Code      Task Code Description     Professional      Date            Description                                            Hours          Rate         Amount
            7 Disclosure Statement / Plan Coley P. Brown      2/26/2010 Call with Huron director and associate regarding the              1.10          410            451.00
              of Reorganization                                         US entity IP license information for purposes of the
                                                                        HLA.
            7 Disclosure Statement / Plan James Lukenda        2/1/2010 Nortel-review comments and additions on template                  0.20          725            145.00
              of Reorganization                                         provided by Cleary.
            7 Disclosure Statement / Plan James Lukenda        2/1/2010 Nortel-call with Huron director to discuss template               0.40          725            290.00
              of Reorganization                                         format and content, populating fields for available
                                                                        information and organization of primes for
                                                                        information sourcing.
            7 Disclosure Statement / Plan James Lukenda        2/2/2010 Nortel-address summary sheet changes, regarding                   0.40          725            290.00
              of Reorganization                                         legal entity review.
            7 Disclosure Statement / Plan James Lukenda        2/3/2010 Nortel-call with Huron director regarding Liquidation             0.30          725            217.50
              of Reorganization                                         Analysis and preparation for meeting at Cleary.

            7 Disclosure Statement / Plan James Lukenda        2/4/2010 Nortel-review background in preparation for                       1.20          725            870.00
              of Reorganization                                         conference call with counsel et al., regarding
                                                                        response on PBGC.
            7 Disclosure Statement / Plan James Lukenda        2/4/2010 Nortel-arrangements for call regarding PBGC and                   0.10          725             72.50
              of Reorganization                                         valuation.
            7 Disclosure Statement / Plan James Lukenda        2/4/2010 Nortel-communications with J. Ray (Nortel) et al.,                0.20          725            145.00
              of Reorganization                                         regarding legal entity review and contact with
                                                                        Lazard.
            7 Disclosure Statement / Plan James Lukenda        2/9/2010 Nortel-call with Huron director regarding discuss                 0.30          725            217.50
              of Reorganization                                         preparation for call, follow-up with R. Boris (Nortel),
                                                                        and related matters on liquidation analysis and
                                                                        claims.
            7 Disclosure Statement / Plan James Lukenda        2/9/2010 Nortel-review financial statement files, claims, etc.             1.30          725            942.50
              of Reorganization                                         preparation for discussion with counsel et al.
            7 Disclosure Statement / Plan James Lukenda       2/11/2010 Nortel-legal entity review, update on status of                   0.40          725            290.00
              of Reorganization                                         information details, review ledger summaries.
            7 Disclosure Statement / Plan James Lukenda       2/12/2010 Nortel-call with Huron director regarding liquidation             0.30          725            217.50
              of Reorganization                                         analysis and interco matters.
            7 Disclosure Statement / Plan James Lukenda       2/16/2010 Nortel-conference with Huron director regarding                   0.30          725            217.50
              of Reorganization                                         legal entity analysis update call and status.
            7 Disclosure Statement / Plan James Lukenda       2/17/2010 Nortel-review correspondence, information, press,                 0.50          725            362.50
              of Reorganization                                         and other case related matters, update on work
                                                                        streams and timing.
            7 Disclosure Statement / Plan James Lukenda       2/17/2010 Nortel-call with Huron director regarding legal entity            0.30          725            217.50
              of Reorganization                                         analysis, discussion of approach on allocations,
                                                                        intercompany.
            7 Disclosure Statement / Plan James Lukenda       2/18/2010 Nortel-update with Huron director, discuss IP status              0.40          725            290.00
              of Reorganization                                         and call with J. Ray (Nortel), review correspondence.

            7 Disclosure Statement / Plan James Lukenda       2/22/2010 Nortel-interco and legal entity update, review                    0.40          725            290.00
              of Reorganization                                         correspondence, call with Huron director.
            7 Disclosure Statement / Plan Joseph McKenna       2/1/2010 Meeting with Huron team to discuss workplan related               0.80          335            268.00
              of Reorganization                                         to hypothetical liquidation analysis.
            7 Disclosure Statement / Plan Joseph McKenna       2/1/2010 Preparing templates for information requests and data             1.90          335            636.50
              of Reorganization                                         input for 16 US Debtors to be used in hypothetical
                                                                        liquidation analysis.
            7 Disclosure Statement / Plan Joseph McKenna       2/2/2010 Formatting US Debtor information request templates                1.90          335            636.50
              of Reorganization                                         to reflect revisions made to shell template by Cleary
                                                                        legal team. Correcting formatting errors and
                                                                        improving functionality of template for data input.

            7 Disclosure Statement / Plan Joseph McKenna          2/2/2010 Cloning information request templates for the 16 US            2.30          335            770.50
              of Reorganization                                            debtors and branches and populating basic
                                                                           information for each.
            7 Disclosure Statement / Plan Joseph McKenna          2/2/2010 Populating the template and creating attachments for           2.40          335            804.00
              of Reorganization                                            intellectual property, open litigation, and bank
                                                                           accounts related to NNI.
            7 Disclosure Statement / Plan Joseph McKenna          2/2/2010 Meeting with Huron director and associate to discuss           0.60          335            201.00
              of Reorganization                                            information already received, information needed,
                                                                           and workplan for populating and distributing
                                                                           information templates to be used in forming the plan
                                                                           of reorganization.
            7 Disclosure Statement / Plan Joseph McKenna          2/2/2010 Populating overview/history and employee                       1.70          335            569.50
              of Reorganization                                            information within the Nortel Networks Inc.
                                                                           template.
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Task Code      Task Code Description    Professional       Date            Description                                           Hours          Rate         Amount
            7 Disclosure Statement / Plan Joseph McKenna          2/3/2010 Populating US Debtor information request template             2.50          335            837.50
              of Reorganization                                            for Plan of Reorganization: Dormant US Debtors.

            7 Disclosure Statement / Plan Joseph McKenna          2/3/2010 Populating US Debtor information request template             1.30          335            435.50
              of Reorganization                                            for Plan of Reorganization: Alteon Websystems
                                                                           International.
            7 Disclosure Statement / Plan Joseph McKenna          2/3/2010 Populating US Debtor information request template             2.10          335            703.50
              of Reorganization                                            for Plan of Reorganization: Nortel Networks CALA
                                                                           Inc.
            7 Disclosure Statement / Plan Joseph McKenna          2/3/2010 Populating US Debtor information request template             1.80          335            603.00
              of Reorganization                                            for Plan of Reorganization: Nortel Networks
                                                                           International Inc.
            7 Disclosure Statement / Plan Joseph McKenna          2/3/2010 Populating US Debtor information request template             1.10          335            368.50
              of Reorganization                                            for Plan of Reorganization: Alteon Websystems.

            7 Disclosure Statement / Plan Joseph McKenna       2/3/2010 Populating US Debtor information request template                1.50          335            502.50
              of Reorganization                                         for Plan of Reorganization: Nortel Networks Capital
                                                                        Corp.
            7 Disclosure Statement / Plan Joseph McKenna       2/4/2010 Populating information request templates for US                  2.40          335            804.00
              of Reorganization                                         debtor branch offices. US entity review to be used in
                                                                        formulating plan of reorganization.
            7 Disclosure Statement / Plan Joseph McKenna       2/4/2010 Reviewing and correcting formatting errors in US                 2.10          335            703.50
              of Reorganization                                         debtor entity information request templates to be used
                                                                        in preparing plan of reorganization.
            7 Disclosure Statement / Plan Joseph McKenna       2/8/2010 Two conference calls with Huron director to discuss              0.70          335            234.50
              of Reorganization                                         appropriate course of action for gathering
                                                                        information required for plan of reorganization and
                                                                        defining roles of team members.
            7 Disclosure Statement / Plan Joseph McKenna       2/8/2010 Populating information request templates for                     1.10          335            368.50
              of Reorganization                                         financial statement information provided related to
                                                                        NNI and CALA.
            7 Disclosure Statement / Plan Joseph McKenna       2/8/2010 Documenting notes from teleconference with Nortel                0.80          335            268.00
              of Reorganization                                         and Cleary plan of reorganization contacts.
                                                                        Preparing workplan for continuing gathering
                                                                        information needed for the plan.
            7 Disclosure Statement / Plan Joseph McKenna       2/9/2010 Teleconference with Huron director to discuss                    0.60          335            201.00
              of Reorganization                                         information received from and conversations with
                                                                        Huron IP prime.
            7 Disclosure Statement / Plan Joseph McKenna       2/9/2010 Reviewing patent supporting documentation                        2.30          335            770.50
              of Reorganization                                         provided by Nortel IP prime and updating
                                                                        information templates for disposals of patents and
                                                                        licenses.
            7 Disclosure Statement / Plan Joseph McKenna       2/9/2010 Updating US debtor information templates to reflect              1.80          335            603.00
              of Reorganization                                         updated historical and overview documents provided
                                                                        by Nortel prime.
            7 Disclosure Statement / Plan Joseph McKenna      2/10/2010 Teleconference with Huron director and associate                 0.30          335            100.50
              of Reorganization                                         regarding requests by Cleary team and necessary
                                                                        updates to US entity review workbooks.
            7 Disclosure Statement / Plan Joseph McKenna      2/10/2010 Reviewing intellectual property information recorded             1.70          335            569.50
              of Reorganization                                         in Nortel US entity workbooks to ensure complete
                                                                        listings and accurate scheduling of assets.

            7 Disclosure Statement / Plan Joseph McKenna      2/10/2010 Separating active and dormant entities into multiple             2.10          335            703.50
              of Reorganization                                         workbooks for review by Cleary team of information
                                                                        gathered to date.
            7 Disclosure Statement / Plan Joseph McKenna      2/11/2010 Investigating Huron manager's question regarding                 0.40          335            134.00
              of Reorganization                                         presentation of intercompany payables/receivables in
                                                                        debtor's source documents.

            7 Disclosure Statement / Plan Joseph McKenna      2/11/2010 Reviewing source documents provided to date for US               0.40          335            134.00
              of Reorganization                                         entity review. Updating shared drive for documents
                                                                        recently received.
            7 Disclosure Statement / Plan Joseph McKenna      2/12/2010 Teleconferences with Huron director and associate                1.30          335            435.50
              of Reorganization                                         regarding progress of information requests and
                                                                        additional steps required.
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Task Code      Task Code Description     Professional         Date            Description                                             Hours          Rate         Amount
            7 Disclosure Statement / Plan Joseph McKenna         2/12/2010 Reviewing first day motions and subsequent monthly                 0.80          335             268.00
              of Reorganization                                            operating reports filed by debtors to document
                                                                           insurance coverage for potential liabilities that might
                                                                           be incurred by US entities. Research performed as
                                                                           part of preparation for plan of reorganization.

            7 Disclosure Statement / Plan Joseph McKenna         2/12/2010 Documenting results of research regarding insurance                0.20          335              67.00
              of Reorganization                                            coverage of US entities.
            7 Disclosure Statement / Plan Joseph McKenna         2/12/2010 Documenting notes from conversation with J. Wood                   0.60          335             201.00
              of Reorganization                                            (Nortel) regarding potential tax liabilities relevant to
                                                                           plan of reorganization.
            7 Disclosure Statement / Plan Joseph McKenna         2/15/2010 Updating and formatting US Entity information                      0.40          335             134.00
              of Reorganization                                            request templates based on discussions with Huron
                                                                           associate regarding work completed over the
                                                                           weekend.
            7 Disclosure Statement / Plan Joseph McKenna         2/16/2010 Meeting with Huron team to discuss progress made                   0.70          335             234.50
              of Reorganization                                            to date on Nortel US Entity Review and open items
                                                                           list.
            7 Disclosure Statement / Plan Joseph McKenna         2/16/2010 Reviewing database of claims filed against all debtors             1.70          335             569.50
              of Reorganization                                            and preparing summary tables of claims filed against
                                                                           each debtor by category and classification amount.

            7 Disclosure Statement / Plan Joseph McKenna         2/16/2010 Drafting narrative summaries of tax and insurance                  1.70          335             569.50
              of Reorganization                                            information gathered to date for incorporation into
                                                                           US Entity Review templates.
            7 Disclosure Statement / Plan Joseph McKenna         2/16/2010 Reviewing insurance information gathered and                       0.80          335             268.00
              of Reorganization                                            drafting email to Nortel prime to confirm accuracy
                                                                           and completeness of data.
            7 Disclosure Statement / Plan Joseph McKenna         2/16/2010 Incorporating information gathered regarding Nortel                2.30          335             770.50
              of Reorganization                                            US Entity tax liabilities and insurance coverage into
                                                                           US Entity review templates.
            7 Disclosure Statement / Plan Joseph McKenna         2/17/2010 Incorporating updated claims attachments for each                  1.20          335             402.00
              of Reorganization                                            debtor into US Debtor Entity review workbooks.

            7 Disclosure Statement / Plan Joseph McKenna         2/22/2010 Teleconference with Huron director and associate to                0.40          335             134.00
              of Reorganization                                            discuss progress and required updates to US Entity
                                                                           review templates in advance of full review team
                                                                           meeting.
            7 Disclosure Statement / Plan Joseph McKenna         2/22/2010 Updating US entity review templates to reflect                     2.10          335             703.50
              of Reorganization                                            additional information received regarding entity
                                                                           status and bank information.
            7 Disclosure Statement / Plan Joseph McKenna         2/23/2010 Investigating intercompany balances between NNI                    2.30          335             770.50
              of Reorganization                                            and NN CALA at various dates over the last year in
                                                                           response to questions from Cleary.
            7 Disclosure Statement / Plan Joseph McKenna         2/24/2010 Documenting source files and contacts within US                    2.50          335             837.50
              of Reorganization                                            information templates for all supporting detail
                                                                           received during US Entity Review.
            7 Disclosure Statement / Plan Joseph McKenna         2/24/2010 Updating and reconfiguring US Entity Review                        2.50          335             837.50
              of Reorganization                                            balance sheet information based on updated trial
                                                                           balances received from Nortel prime.
            7 Disclosure Statement / Plan Joseph McKenna         2/25/2010 Updating US Entity profit & Loss statements to                     0.60          335             201.00
              of Reorganization                                            reflect newly received trial balance reports.
            7 Disclosure Statement / Plan Joseph McKenna         2/25/2010 Populating Active US debtor balance sheets to reflect              3.00          335            1005.00
              of Reorganization                                            updated information received in newly-run Trial
                                                                           balance.
            7 Disclosure Statement / Plan Joseph McKenna         2/25/2010 Reviewing intellectual property data received from                 1.70          335             569.50
              of Reorganization                                            Nortel prime and updating US entity review
                                                                           templates where applicable.
            7 Disclosure Statement / Plan Joseph McKenna         2/25/2010 Populating Active US non-debtor balance sheets to                  2.10          335             703.50
              of Reorganization                                            reflect updated information received in newly-run
                                                                           Trial balance.
            7 Disclosure Statement / Plan Joseph McKenna         2/26/2010 Updating US entity review templates to reflect                     2.20          335             737.00
              of Reorganization                                            information received from Nortel prime relating to
                                                                           outbound technology-related licensing agreements.

            7 Disclosure Statement / Plan Matthew J. Fisher          2/1/2010 Met with associates and project managers to discuss             1.00          555             555.00
              of Reorganization                                               work plans associated with liquidation analysis and
                                                                              Plan development.
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Task Code      Task Code Description     Professional         Date            Description                                             Hours          Rate         Amount
            7 Disclosure Statement / Plan Matthew J. Fisher          2/1/2010 Analyzed US-owned Nortel entity balance sheets and              1.90          555            1054.50
              of Reorganization                                               operating statements to develop liquidation analysis
                                                                              work plans and respond to inquiries from outside
                                                                              counsel regarding dormant status of certain entities.

            7 Disclosure Statement / Plan Matthew J. Fisher          2/2/2010 Analyzed US-owned Nortel entity balance sheets and              1.50          555             832.50
              of Reorganization                                               operating statements to develop liquidation analysis
                                                                              work plans and respond to inquiries from outside
                                                                              counsel regarding dormant status of certain entities.

            7 Disclosure Statement / Plan Matthew J. Fisher          2/2/2010 Met with S. Charanjit (Nortel) to discuss global                0.30          555             166.50
              of Reorganization                                               liquidation analysis and timing for updating with
                                                                              current data.
            7 Disclosure Statement / Plan Matthew J. Fisher          2/2/2010 Prepared checklist and template for information to be           1.50          555             832.50
              of Reorganization                                               gathered for US-owned entities required for
                                                                              preparation of Plan.
            7 Disclosure Statement / Plan Matthew J. Fisher          2/3/2010 Analyzed balance sheets and operating income                    1.80          555             999.00
              of Reorganization                                               statements for each of the US entities and prepared
                                                                              questions for discussion with US accounting.

            7 Disclosure Statement / Plan Matthew J. Fisher          2/3/2010 Met with associates and project managers to discuss             1.00          555             555.00
              of Reorganization                                               work plans associated with liquidation analysis and
                                                                              Plan development.
            7 Disclosure Statement / Plan Matthew J. Fisher          2/4/2010 Prepared summary of Schedule G data and met with                1.50          555             832.50
              of Reorganization                                               R. Boris and A. Dhokia (Nortel) to discuss work plan
                                                                              and tasks needed to address outstanding executory
                                                                              contracts in Plan of Reorganization.

            7 Disclosure Statement / Plan Matthew J. Fisher          2/4/2010 Met with associates to discuss intercompany                     1.40          555             777.00
              of Reorganization                                               relationships and balances among US entities and
                                                                              presenting such data to outside counsel and Nortel
                                                                              US management.
            7 Disclosure Statement / Plan Matthew J. Fisher          2/5/2010 Met with associates to discuss summarizing financial            2.00          555            1110.00
              of Reorganization                                               and legal data on US entities for presentation to
                                                                              outside counsel and Nortel US management.

            7 Disclosure Statement / Plan Matthew J. Fisher          2/8/2010 Analyzed liquidation analysis model prepared by                 1.50          555             832.50
              of Reorganization                                               monitor to determine items relevant to US companies
                                                                              and assess logic of assumptions.
            7 Disclosure Statement / Plan Matthew J. Fisher          2/9/2010 Met with associates to discuss population of                    1.50          555             832.50
              of Reorganization                                               executory contracts of Debtors and updates needed to
                                                                              reflect expiration, rejection, and assumption and
                                                                              assignment of certain contracts.
            7 Disclosure Statement / Plan Matthew J. Fisher          2/9/2010 Analyzed contract data of Debtor entities as of                 1.80          555             999.00
              of Reorganization                                               petition date compared to assignments to Avaya and
                                                                              Ciena to determine items remaining with Nortel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/10/2010 Analyzed assets of US Debtors and historical                       1.30          555             721.50
              of Reorganization                                            information in preparation of liquidation analysis.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/11/2010 Analyzed real and personal property detail of                      0.80          555             444.00
              of Reorganization                                            Debtors.
            7 Disclosure Statement / Plan Matthew J. Fisher      2/11/2010 Analyzed PO database to estimate items still open                  4.00          555            2220.00
              of Reorganization                                            from petition date and related exposure for US
                                                                           entities; discussed M&A impact on US entities with
                                                                           D. Glass (Nortel); analyzed real and personal
                                                                           property detail of Debtors.
            7 Disclosure Statement / Plan Matthew J. Fisher      2/12/2010 Prepared budget for POR work plan items and                        1.50          555             832.50
              of Reorganization                                            discussed with R. Boris (Nortel).
            7 Disclosure Statement / Plan Matthew J. Fisher      2/16/2010 Analyzed assets of US Debtors and historical                       0.90          555             499.50
              of Reorganization                                            information in preparation of liquidation analysis.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/17/2010 Met with associates to discuss financial and legal                 2.00          555            1110.00
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/17/2010 Met with associates to discuss financial and legal                 1.60          555             888.00
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.
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Task Code      Task Code Description     Professional         Date            Description                                               Hours          Rate         Amount
            7 Disclosure Statement / Plan Matthew J. Fisher      2/18/2010 Reviewed bank account information provided by                        1.30          555             721.50
              of Reorganization                                            treasury and discussed active versus dormant
                                                                           accounts with S. Milanovic (Nortel).
            7 Disclosure Statement / Plan Matthew J. Fisher      2/18/2010 Met with associates to discuss financial and legal                   2.50          555            1387.50
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/19/2010 Met with associates to discuss financial and legal                   1.00          555             555.00
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/22/2010 Met with D. Glass (Nortel) to discuss analyses                       1.10          555             610.50
              of Reorganization                                            required for inclusion in Plan.
            7 Disclosure Statement / Plan Matthew J. Fisher      2/22/2010 Analyzed assets of US Debtors and historical                         0.90          555             499.50
              of Reorganization                                            information in preparation of liquidation analysis.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/22/2010 Met with associates to discuss financial and legal                   1.80          555             999.00
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/23/2010 Analyzed PO database to estimate items still open                    4.00          555            2220.00
              of Reorganization                                            from petition date and related exposure for US
                                                                           entities; analyzed intercompany claim detail of
                                                                           Debtors; analyzed real and personal property detail of
                                                                           Debtors.
            7 Disclosure Statement / Plan Matthew J. Fisher      2/24/2010 Met with associates to discuss financial and legal                   0.60          555             333.00
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/25/2010 Analyzed assets of US Debtors and historical                         0.50          555             277.50
              of Reorganization                                            information in preparation of liquidation analysis.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/25/2010 Met with associates to discuss financial and legal                   1.30          555             721.50
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Matthew J. Fisher      2/26/2010 Analyzed open items and reviewed financial and                       1.20          555             666.00
              of Reorganization                                            legal information documented on US entities for
                                                                           completeness.
            7 Disclosure Statement / Plan Matthew J. Fisher      2/26/2010 Met with associates to discuss financial and legal                   0.50          555             277.50
              of Reorganization                                            information of US entities and outstanding items to
                                                                           be analyzed and discussed with outside counsel.

            7 Disclosure Statement / Plan Michael Scannella          2/2/2010 Created templates for all non-debtor entities to be               2.30          335             770.50
              of Reorganization                                               used as support for potential plan filing. Also
                                                                              populated information related to location, entity type,
                                                                              business type, etc.
            7 Disclosure Statement / Plan Michael Scannella          2/2/2010 Meeting with Huron associates to discuss resources                0.50          335             167.50
              of Reorganization                                               available to populate entity templates.
            7 Disclosure Statement / Plan Michael Scannella          2/3/2010 Built Profit and Loss analysis for all non-debtor                 2.20          335             737.00
              of Reorganization                                               entities for company descriptions/templates.
            7 Disclosure Statement / Plan Michael Scannella          2/3/2010 Prepared Profit and Loss analysis for half of the                 0.90          335             301.50
              of Reorganization                                               debtor entities for company/description/templates.

            7 Disclosure Statement / Plan Michael Scannella          2/3/2010 Investigated intercompany receivables/payables for                2.90          335             971.50
              of Reorganization                                               each of the non-debtor entities for purposes of
                                                                              populating entity templates.
            7 Disclosure Statement / Plan Michael Scannella          2/4/2010 Quality check and review of non-debtor entity                     2.30          335             770.50
              of Reorganization                                               description templates Ensured appropriate PL and
                                                                              BS data was added to detail.
            7 Disclosure Statement / Plan Michael Scannella          2/4/2010 Reviewed and summarized IP related to active                      0.80          335             268.00
              of Reorganization                                               debtors for purposes of populating entity templates.

            7 Disclosure Statement / Plan Michael Scannella          2/8/2010 Update of entity templates related to NGS                         0.90          335             301.50
              of Reorganization                                               subsidiaries and Nortel Foundation.
            7 Disclosure Statement / Plan Michael Scannella          2/8/2010 Internal conference call to discuss next steps and                0.80          335             268.00
              of Reorganization                                               additional workstreams regarding entity templates.
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Task Code      Task Code Description     Professional         Date         Description                                              Hours          Rate         Amount
            7 Disclosure Statement / Plan Michael Scannella       2/9/2010 Prepared correspondence to Y. Lopez-Gomez                        0.70          335            234.50
              of Reorganization                                            (Nortel) asking for pertinent information related to
                                                                           the entity template exercise.
            7 Disclosure Statement / Plan Michael Scannella       2/9/2010 Updated entity templates for non-debtors based on                1.60          335            536.00
              of Reorganization                                            information provided by Y. Lopez-Gomez and S.
                                                                           Lennon (Nortel).
            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Update of additional Balance Sheets for non-debtor               0.70          335            234.50
              of Reorganization                                            entity templates.
            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Update of headcount for inactive entity templates                0.70          335            234.50
              of Reorganization                                            based on information received from M. Paoletti
                                                                           (Nortel).
            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Correspondence with Y. Lopez-Gomez to confirm                    0.50          335            167.50
              of Reorganization                                            active/dormant entities as well as updating certain
                                                                           information related to non-debtor entities.

            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Added non-debtor active entities to Active US Entity             1.50          335            502.50
              of Reorganization                                            Workbook for Cleary. Also adjusted formatting and
                                                                           provided source links to capture information.

            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Added non-debtor dormant entities to Inactive US                 2.20          335            737.00
              of Reorganization                                            Entity Workbook for Cleary. Also adjusted
                                                                           formatting and provided source links to capture
                                                                           information.
            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Prepared correspondence with S. Lennon (Nortel) to               0.60          335            201.00
              of Reorganization                                            discuss missing entity information.
            7 Disclosure Statement / Plan Michael Scannella      2/10/2010 Review of third party receivables for each of the non-           1.70          335            569.50
              of Reorganization                                            debtor entities for purposes of populating entity
                                                                           templates.
            7 Disclosure Statement / Plan Michael Scannella      2/11/2010 Prepared correspondence with M. McCollom (Nortel)                0.50          335            167.50
              of Reorganization                                            to investigate real estate owned/leased by all U.S.
                                                                           entities.
            7 Disclosure Statement / Plan Michael Scannella      2/11/2010 Updated employee counts for active entities based on             0.80          335            268.00
              of Reorganization                                            data from M. Paoletti (Nortel).
            7 Disclosure Statement / Plan Michael Scannella      2/12/2010 Updated active entity historical information using               1.00          335            335.00
              of Reorganization                                            data provided by Y. Lopez-Gomez (Nortel).

            7 Disclosure Statement / Plan Michael Scannella      2/12/2010 Discussions with Huron manager and associate to                  1.30          335            435.50
              of Reorganization                                            discuss progress made and next steps related to entity
                                                                           templates.
            7 Disclosure Statement / Plan Michael Scannella      2/12/2010 Drafted e-mails to M. McCollom and S. Lennon                     0.40          335            134.00
              of Reorganization                                            (Nortel) regarding updates to the entity template
                                                                           analysis.
            7 Disclosure Statement / Plan Michael Scannella      2/12/2010 Updated dormant entity historical information using              0.90          335            301.50
              of Reorganization                                            data provided by Y. Lopez-Gomez (Nortel).

            7 Disclosure Statement / Plan Michael Scannella      2/12/2010 Prepared open/closed items log pertaining to the                 1.00          335            335.00
              of Reorganization                                            entity template analysis and distributed to Huron
                                                                           team.
            7 Disclosure Statement / Plan Michael Scannella      2/15/2010 Added real estate information to dormant/active                  0.70          335            234.50
              of Reorganization                                            entity templates based on information provided by M.
                                                                           McCollom (Nortel).
            7 Disclosure Statement / Plan Michael Scannella      2/16/2010 Updated open items for US Entity templates based on              0.60          335            201.00
              of Reorganization                                            team discussion and group call.
            7 Disclosure Statement / Plan Michael Scannella      2/16/2010 Prepared correspondences with several Nortel                     1.20          335            402.00
              of Reorganization                                            employees seeking data related to government
                                                                           inquiries, real estate, and employee information in
                                                                           order to populate US entity templates.
            7 Disclosure Statement / Plan Michael Scannella      2/16/2010 Reviewed NNI real estate properties and determined               2.50          335            837.50
              of Reorganization                                            rent, square footage, and lease end dates.

            7 Disclosure Statement / Plan Michael Scannella      2/16/2010 Call with Huron manager and associate to discuss                 0.70          335            234.50
              of Reorganization                                            next steps related to entity template analysis.
            7 Disclosure Statement / Plan Michael Scannella      2/17/2010 Completed populating real estate data to be included             1.20          335            402.00
              of Reorganization                                            in US Entity Templates.
            7 Disclosure Statement / Plan Michael Scannella      2/17/2010 Corresponded with A. Lane (Nortel) regarding                     0.70          335            234.50
              of Reorganization                                            assumed/rejected leases and prepared analysis to be
                                                                           included in discussion.
            7 Disclosure Statement / Plan Michael Scannella      2/17/2010 Prepared analysis of employee counts for all 50 US               0.80          335            268.00
              of Reorganization                                            entities to determine payroll source for each.
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Task Code      Task Code Description     Professional         Date         Description                                              Hours          Rate         Amount
            7 Disclosure Statement / Plan Michael Scannella      2/17/2010 Prepared summary analysis of all contracts for NNL               1.40          335             469.00
              of Reorganization                                            by appearance on Schedule G and related entity for
                                                                           director review.
            7 Disclosure Statement / Plan Michael Scannella      2/18/2010 Expanded analysis of contracts to include                        1.30          335             435.50
              of Reorganization                                            classification by active, expired, etc.
            7 Disclosure Statement / Plan Michael Scannella      2/18/2010 Follow-up with L. Lee (Nortel) regarding employee                0.40          335             134.00
              of Reorganization                                            payroll between entities.
            7 Disclosure Statement / Plan Michael Scannella      2/18/2010 Corresponded with K. Ng (Nortel) regarding                       0.30          335             100.50
              of Reorganization                                            unfamiliar entity; investigating link to US Entity.
            7 Disclosure Statement / Plan Michael Scannella      2/18/2010 Discussion with Huron director related to contracts              0.60          335             201.00
              of Reorganization                                            summary; determined additional work streams for
                                                                           analysis.
            7 Disclosure Statement / Plan Michael Scannella      2/19/2010 Updated entity templates with bank account                       1.80          335             603.00
              of Reorganization                                            information received from Nortel contacts.
            7 Disclosure Statement / Plan Michael Scannella      2/19/2010 Discussion with Huron associate regarding updates to             0.70          335             234.50
              of Reorganization                                            the open items for entity analysis and circulating to
                                                                           the working group.
            7 Disclosure Statement / Plan Michael Scannella      2/19/2010 Updated and formatted entity templates (active and               1.00          335             335.00
              of Reorganization                                            dormant) and circulated to the working group for
                                                                           team discussion.
            7 Disclosure Statement / Plan Michael Scannella      2/19/2010 Completed contracts summary expansion and                        1.00          335             335.00
              of Reorganization                                            included notes related to related parties and
                                                                           descriptions provided in contracts source file.
            7 Disclosure Statement / Plan Michael Scannella      2/22/2010 Updated contracts summary analysis for Huron                     0.70          335             234.50
              of Reorganization                                            Director and submitted for discussion.
            7 Disclosure Statement / Plan Michael Scannella      2/22/2010 Discussion with Huron Director and Associate                     0.50          335             167.50
              of Reorganization                                            regarding progress made and next steps for US Entity
                                                                           Templates.
            7 Disclosure Statement / Plan Michael Scannella      2/22/2010 Populated employee information for dormant and                   1.10          335             368.50
              of Reorganization                                            active entities regarding payroll and location after
                                                                           discussion with Huron Director.
            7 Disclosure Statement / Plan Michael Scannella      2/22/2010 Created real estate attachment for NNI property                  1.40          335             469.00
              of Reorganization                                            owned and rented.
            7 Disclosure Statement / Plan Michael Scannella      2/22/2010 Various updates to US Dormant Entity templates                   1.90          335             636.50
              of Reorganization                                            including providing source files, Nortel contacts, and
                                                                           new information.
            7 Disclosure Statement / Plan Michael Scannella      2/23/2010 Populated Nortel contacts for source documents                   0.80          335             268.00
              of Reorganization                                            included within dormant templates.
            7 Disclosure Statement / Plan Michael Scannella      2/23/2010 Prepared summary analysis comparing US Entities                  1.40          335             469.00
              of Reorganization                                            included in template workbooks to a list of all Nortel
                                                                           entities with open purchase orders. This is now
                                                                           reflected in the workbooks under third party
                                                                           contracts.
            7 Disclosure Statement / Plan Michael Scannella      2/23/2010 Correspondence with M. McCollom (Nortel) and                     0.70          335             234.50
              of Reorganization                                            update to real estate data for entity templates.
            7 Disclosure Statement / Plan Michael Scannella      2/23/2010 Built balance sheet analysis for dormant non-debtors             2.60          335             871.00
              of Reorganization                                            to be used in entity templates. Also included
                                                                           intercompany dollar amounts from different source
                                                                           and provided intercompany reconciliation.

            7 Disclosure Statement / Plan Michael Scannella      2/23/2010 Built balance sheet analysis for dormant debtors to be           2.70          335             904.50
              of Reorganization                                            used in entity templates. Also included intercompany
                                                                           dollar amounts from different source and provided
                                                                           intercompany reconciliation.
            7 Disclosure Statement / Plan Michael Scannella      2/24/2010 Prepared contract summary analysis and                           1.00          335             335.00
              of Reorganization                                            corresponded with K. Ng (Nortel) to identify related
                                                                           entities to certain parties.
            7 Disclosure Statement / Plan Michael Scannella      2/24/2010 Discussion with Huron associates regarding bank                  0.60          335             201.00
              of Reorganization                                            accounts for CALA branches and subsidiaries.
            7 Disclosure Statement / Plan Michael Scannella      2/24/2010 Formatting of balance sheets and intercompany                    3.10          335            1038.50
              of Reorganization                                            activity. Q.C. to confirm appropriate amounts are
                                                                           available.
            7 Disclosure Statement / Plan Michael Scannella      2/24/2010 Updated P&L for dormant companies (debtor and                    0.80          335             268.00
              of Reorganization                                            non-debtor) with P&L as of 2/12/10.
            7 Disclosure Statement / Plan Michael Scannella      2/25/2010 Reassign intercompany payables for non-debtors                   0.80          335             268.00
              of Reorganization                                            from Subject to Compromise to Not Subject to
                                                                           Compromise.
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Task Code      Task Code Description     Professional         Date            Description                                             Hours          Rate         Amount
            7 Disclosure Statement / Plan Michael Scannella      2/25/2010 Update of entity name for those in Schedule G                      0.90          335             301.50
              of Reorganization                                            contracts analysis based on K. Ng (Nortel) update e-
                                                                           mail and populating non-debtor contracts information
                                                                           in templates.
            7 Disclosure Statement / Plan Michael Scannella      2/25/2010 Formatting of intercompany amounts on entity                       2.10          335             703.50
              of Reorganization                                            templates to reflect activity as of 9/30/09.
            7 Disclosure Statement / Plan Michael Scannella      2/25/2010 Update of checklist for information obtained and                   0.70          335             234.50
              of Reorganization                                            listing of source documents and related Nortel
                                                                           employees.
            7 Disclosure Statement / Plan Michael Scannella      2/25/2010 Q.C. of intercompany dollar amounts for each of the                0.60          335             201.00
              of Reorganization                                            dormant US entities.
            7 Disclosure Statement / Plan Michael Scannella      2/26/2010 Call with Huron associates to discuss necessary                    0.60          335             201.00
              of Reorganization                                            updates and next steps related to the US Entity
                                                                           templates analysis.
            7 Disclosure Statement / Plan Michael Scannella      2/26/2010 Updated formatting and detail within US dormant                    1.10          335             368.50
              of Reorganization                                            entity book.
            7 Disclosure Statement / Plan Michael Scannella      2/26/2010 Discussion with Huron associate regarding IP update.               0.90          335             301.50
              of Reorganization                                            Prepared templates for outside review and distributed
                                                                           to working team.
            7 Disclosure Statement / Plan Michael Scannella      2/26/2010 Shifted 2123, 3240, and 4214 tabs and related                      0.80          335             268.00
              of Reorganization                                            attachments from active US entity book to dormant
                                                                           book.
            7 Disclosure Statement / Plan Michael Scannella      2/26/2010 Created US entity book for those entities no longer                0.80          335             268.00
              of Reorganization                                            held or owned by Nortel.
            9 Cash Flow Analysis and      Brian Heinimann         2/3/2010 Discussion with Huron director and update to records               1.10          410             451.00
              Reporting                                                    of cash receipts at NNI from CALA, based upon
                                                                           activity through 01/31/10.
            9 Cash Flow Analysis and     Matthew J. Fisher        2/3/2010 Obtained cash receipt data for CALA receivables                    2.20          555            1221.00
              Reporting                                                    collected in NNI lockboxes and prepared summary of
                                                                           receipts transferred between Debtors for discussion
                                                                           with outside counsel and preparation of cash
                                                                           management motion; discussed issue with L. Lipner
                                                                           (CGSH).
        11 Asset Sale & Disposition      Brian Heinimann          2/1/2010 Reviewed request from C. Brown, Avaya;                             0.30          410             123.00
           Support                                                         investigated; and drafted response.
        11 Asset Sale & Disposition      Brian Heinimann          2/1/2010 Review of various e-mails received from                            0.60          410             246.00
           Support                                                         counterparties to Enterprise Business solutions
                                                                           business, and responded or forwarded to J. Nielsen,
                                                                           Avaya, as appropriate.
        11 Asset Sale & Disposition      Brian Heinimann          2/1/2010 Updated Huron database of Avaya business contract                  0.50          410             205.00
           Support                                                         notices based upon activity through 02/01, and
                                                                           circulated revised version to Nortel.
        11 Asset Sale & Disposition      Brian Heinimann          2/1/2010 Prepared list of action items relating to outstanding              0.40          410             164.00
           Support                                                         issues with MEN contract assignments, and met with
                                                                           Huron director to discuss action plan.

        11 Asset Sale & Disposition      Brian Heinimann             2/1/2010 Preparation of materials relating to MEN and MEN                0.50          410             205.00
           Support                                                            business contract assignment processes, and met with
                                                                              Huron associate to discuss.
        11 Asset Sale & Disposition      Brian Heinimann             2/1/2010 Investigation of inquiry received from counterparty             0.40          410             164.00
           Support                                                            to MEN Business contract; attempted to return phone
                                                                              call; and drafted e-mail to counterparty to answer
                                                                              question.
        11 Asset Sale & Disposition      Brian Heinimann             2/2/2010 Reviewed request from A. Schober, Avaya,                        0.20          410              82.00
           Support                                                            investigated, and drafted e-mail response.
        11 Asset Sale & Disposition      Brian Heinimann             2/2/2010 Updated Huron database of Enterprise Solutions                  0.30          410             123.00
           Support                                                            business contract notices based upon activity through
                                                                              02/02, and circulated revised version to Nortel.

        11 Asset Sale & Disposition      Brian Heinimann             2/2/2010 Updated database of Enterprise Solutions business               0.20          410              82.00
           Support                                                            contract notices relating to Canadian debtors and
                                                                              populated based upon activity through 02/02, and
                                                                              circulated revised version to Ernst & Young.

        11 Asset Sale & Disposition      Brian Heinimann             2/2/2010 Monitored e-mails and voicemails received from                  0.90          410             369.00
           Support                                                            various parties relating to assignment of contracts
                                                                              relating to MEN business; drafted follow up e-mails
                                                                              to Nortel; and returned customer phone calls where
                                                                              appropriate.
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Task Code   Task Code Description     Professional      Date            Description                                              Hours          Rate         Amount
        11 Asset Sale & Disposition   Brian Heinimann          2/2/2010 Call with counterparty to MEN business contract                  0.30          410            123.00
           Support                                                      regarding assignment of contract, and follow up e-
                                                                        mail with copy of notice.
        11 Asset Sale & Disposition   Brian Heinimann          2/2/2010 Reviewed e-mail received from counterparty to MEN                0.30          410            123.00
           Support                                                      business contract, and drafted e-mail response.

        11 Asset Sale & Disposition   Brian Heinimann          2/2/2010 Updated Huron database of MEN business contract                  0.40          410            164.00
           Support                                                      notices based upon activity through 02/02, and
                                                                        circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann          2/2/2010 Updated database of MEN business contract notices                0.20          410             82.00
           Support                                                      relating to Canadian debtors and populated based
                                                                        upon activity through 02/02, and circulated revised
                                                                        version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann          2/3/2010 Review of requests from C. Brown, Avaya relating to              0.30          410            123.00
           Support                                                      Enterprise Solutions business contract assignments;
                                                                        investigated; and drafted e-mail response.

        11 Asset Sale & Disposition   Brian Heinimann          2/3/2010 Updated Huron database of Enterprise Solutions                   0.30          410            123.00
           Support                                                      business contract notices based upon activity through
                                                                        02/03, and circulated revised version to Nortel.

        11 Asset Sale & Disposition   Brian Heinimann          2/3/2010 Updated database of Enterprise Solutions business                0.20          410             82.00
           Support                                                      contract notices relating to Canadian debtors and
                                                                        populated based upon activity through 02/03, and
                                                                        circulated revised version to Ernst & Young.

        11 Asset Sale & Disposition   Brian Heinimann          2/3/2010 Call with G. McGrew, C. Labonte, Nortel; and Huron               0.50          410            205.00
           Support                                                      director regarding process of responding to
                                                                        counterparty inquiries relating to MEN business
                                                                        contract assignments.
        11 Asset Sale & Disposition   Brian Heinimann          2/3/2010 Updated Huron database of MEN business contract                  0.30          410            123.00
           Support                                                      notices based upon activity through 02/03, and
                                                                        circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann          2/3/2010 Updated database of MEN business contract notices                0.20          410             82.00
           Support                                                      relating to Canadian debtors and populated based
                                                                        upon activity through 02/03, and circulated revised
                                                                        version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann          2/4/2010 Updated Huron database of Avaya business contract                0.50          410            205.00
           Support                                                      notices based upon activity through 02/04, and
                                                                        circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann          2/4/2010 Review of correspondence from counterparties to                  0.60          410            246.00
           Support                                                      MEN Business contracts; reviewed notes from Huron
                                                                        associate; investigated outstanding items; and drafted
                                                                        e-mail to Huron associate with tasks to perform.

        11 Asset Sale & Disposition   Brian Heinimann          2/4/2010 Updated Huron database of MEN business contract                  0.30          410            123.00
           Support                                                      notices based upon activity through 02/04, and
                                                                        circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann          2/6/2010 Updated Huron database of Avaya business contract                0.30          410            123.00
           Support                                                      notices based upon activity through 02/05, and
                                                                        circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann          2/6/2010 Reviewed requests from C. Brown and L. Sutherland,               0.60          410            246.00
           Support                                                      Avaya; investigated; and drafted e-mails to satisfy
                                                                        requests.
        11 Asset Sale & Disposition   Brian Heinimann          2/6/2010 Updated Huron database of MEN business contract                  0.30          410            123.00
           Support                                                      notices based upon activity through 02/05, and
                                                                        circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann          2/8/2010 Review of request from A. Cambouris, Cleary                      0.30          410            123.00
           Support                                                      Gottlieb, and follow up with B. Tuttle, Epiq
                                                                        regarding same.
        11 Asset Sale & Disposition   Brian Heinimann          2/8/2010 Updated Huron database of Enterprise Solutions                   1.70          410            697.00
           Support                                                      business contract notices based upon activity through
                                                                        02/08, and follow up e-mails and call with A. Tsai,
                                                                        Epiq, regarding outstanding items.
        11 Asset Sale & Disposition   Brian Heinimann          2/8/2010 Updated Huron database of MEN business contract                  1.50          410            615.00
           Support                                                      notices based upon activity through 02/08, and
                                                                        circulated revised version to Nortel.
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Task Code   Task Code Description     Professional      Date         Description                                             Hours          Rate         Amount
        11 Asset Sale & Disposition   Brian Heinimann       2/8/2010 Updated database of MEN business contract notices               0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/08, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann       2/8/2010 Updated objection tracker and action register for               0.40          410            164.00
           Support                                                   MEN business contract notices, and circulated
                                                                     revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann       2/9/2010 Preparation and call with Nortel MEN Business                   0.60          410            246.00
           Support                                                   contract assignment team and Huron director
                                                                     regarding action items for counterparty inquiries.
        11 Asset Sale & Disposition   Brian Heinimann       2/9/2010 Updated Huron database of MEN business contract                 1.50          410            615.00
           Support                                                   notices based upon activity through 02/09, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann       2/9/2010 Updated database of MEN business contract notices               0.40          410            164.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/09, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/10/2010 Updated Huron database of Enterprise Solutions                  1.30          410            533.00
           Support                                                   business contract notices based upon activity through
                                                                     02/10, and circulated revised version to Nortel.

        11 Asset Sale & Disposition   Brian Heinimann      2/10/2010 Updated database of Enterprise Business contract                0.20          410             82.00
           Support                                                   notices relating to Canadian debtors and populated
                                                                     based upon activity through 02/08, and circulated
                                                                     revised version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/10/2010 Correspondence with counterparty regarding                      0.30          410            123.00
           Support                                                   anticipated closing date of sale of MEN business to
                                                                     Ciena.
        11 Asset Sale & Disposition   Brian Heinimann      2/11/2010 Review of correspondence on status of counterparty              0.40          410            164.00
           Support                                                   contract assignment from M. Berkompas, Avaya, and
                                                                     drafted responses.
        11 Asset Sale & Disposition   Brian Heinimann      2/11/2010 Review of correspondence from counterparty                      0.50          410            205.00
           Support                                                   objecting to contract assignment of Enterprise
                                                                     Business contract; reviewed notice; and
                                                                     correspondence with J. Nielsen, Avaya and Cleary to
                                                                     investigate.
        11 Asset Sale & Disposition   Brian Heinimann      2/11/2010 Updated objection tracker and action register for               0.70          410            287.00
           Support                                                   Enterprise Solutions business contract notices, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/11/2010 Updated database of Enterprise Solutions business               0.30          410            123.00
           Support                                                   contract notices relating to Canadian debtors and
                                                                     populated based upon activity through 02/11, and
                                                                     circulated revised version to Ernst & Young.

        11 Asset Sale & Disposition   Brian Heinimann      2/11/2010 Updated Huron database of Enterprise Solutions                  0.90          410            369.00
           Support                                                   business contract notices based upon activity through
                                                                     02/11, and circulated revised version to Nortel.

        11 Asset Sale & Disposition   Brian Heinimann      2/11/2010 Preparation and call with Nortel MEN Business                   0.50          410            205.00
           Support                                                   contract assignment team regarding action items for
                                                                     counterparty inquiries.
        11 Asset Sale & Disposition   Brian Heinimann      2/12/2010 Call and e-mail correspondence with counterparty                0.60          410            246.00
           Support                                                   relating to status of MEN Business contract
                                                                     assignments, and investigation to support findings.

        11 Asset Sale & Disposition   Brian Heinimann      2/12/2010 Updated Huron database of MEN business contract                 0.80          410            328.00
           Support                                                   notices based upon activity through 02/12, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/12/2010 Updated database of MEN business contract notices               0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/12, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/15/2010 Updated MEN business action register and objection              0.80          410            328.00
           Support                                                   tracker based upon various pieces of correspondence
                                                                     received from counterparties.
        11 Asset Sale & Disposition   Brian Heinimann      2/15/2010 Updated Huron database of MEN business contract                 0.90          410            369.00
           Support                                                   notices based upon activity through 02/15, and
                                                                     circulated revised version to Nortel.
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Task Code   Task Code Description     Professional      Date         Description                                             Hours          Rate         Amount
        11 Asset Sale & Disposition   Brian Heinimann      2/15/2010 Updated database of MEN business contract notices               0.30          410            123.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/15, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/16/2010 Updated Huron database of Enterprise Solutions                  0.30          410            123.00
           Support                                                   business contract notices based upon activity through
                                                                     02/16, and circulated revised version to Nortel.

        11 Asset Sale & Disposition   Brian Heinimann      2/16/2010 Updated database of Enterprise Business contract                0.20          410             82.00
           Support                                                   notices relating to Canadian debtors and populated
                                                                     based upon activity through 02/16, and circulated
                                                                     revised version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/16/2010 Preparation and call with C. Labonte, Nortel,                   0.70          410            287.00
           Support                                                   regarding MEN Business contract assignment action
                                                                     register.
        11 Asset Sale & Disposition   Brian Heinimann      2/16/2010 Updated Huron database of MEN business contract                 1.40          410            574.00
           Support                                                   notices based upon activity through 02/16, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/16/2010 Updated database of MEN business contract notices               0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/16, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/17/2010 Review of e-mail from L. Sutherland, Avaya,                     0.50          410            205.00
           Support                                                   regarding assignment of Enterprise Solutions
                                                                     business contracts; investigated; and drafted
                                                                     response.
        11 Asset Sale & Disposition   Brian Heinimann      2/17/2010 Review of e-mail from C. Almond, Avaya, regarding               0.30          410            123.00
           Support                                                   various contract assignments, investigated, and
                                                                     drafted response.
        11 Asset Sale & Disposition   Brian Heinimann      2/17/2010 Updated Huron database of MEN business contract                 1.20          410            492.00
           Support                                                   notices based upon activity through 2/17, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/18/2010 Preparation and call with C. Labonte and S. Adams,              0.70          410            287.00
           Support                                                   Nortel, regarding MEN Business contract assignment
                                                                     action register and objection tracker.

        11 Asset Sale & Disposition   Brian Heinimann      2/18/2010 Updated MEN Business contract assignment database               0.60          410            246.00
           Support                                                   and action register with information received from
                                                                     Nortel on status call.
        11 Asset Sale & Disposition   Brian Heinimann      2/18/2010 Updated Huron database of MEN business contract                 0.70          410            287.00
           Support                                                   notices based upon activity through 02/18, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/18/2010 Updated database of MEN business contract notices               0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/18, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/18/2010 Call with L. Lipner, A. Cambouris, and R. Bernard,              0.60          410            246.00
           Support                                                   Nortel; and Huron director regarding status of
                                                                     Enterprise Solutions business contract assignments.

        11 Asset Sale & Disposition   Brian Heinimann      2/19/2010 Updated database of Enterprise Solutions business               0.20          410             82.00
           Support                                                   contract notices relating to Canadian debtors and
                                                                     populated based upon activity through 02/19, and
                                                                     circulated revised version to Ernst & Young.

        11 Asset Sale & Disposition   Brian Heinimann      2/19/2010 Updated Huron database of Enterprise Solutions                  0.50          410            205.00
           Support                                                   business contract notices based upon activity through
                                                                     02/19, and circulated revised version to Nortel.

        11 Asset Sale & Disposition   Brian Heinimann      2/19/2010 Updated Huron database and action register for MEN              1.80          410            738.00
           Support                                                   Business contract assignment process based upon
                                                                     various correspondence with counterparty requesting
                                                                     updates notices; and correspondence from S. Adams,
                                                                     and P. Curran, Nortel.

        11 Asset Sale & Disposition   Brian Heinimann      2/19/2010 Updated database of MEN business contract notices               0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/19, and circulated revised
                                                                     version to Ernst & Young.
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                        NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description     Professional      Date         Description                                            Hours          Rate         Amount
        11 Asset Sale & Disposition   Brian Heinimann      2/22/2010 Reviewed e-mails from B. Lascurain, Avaya, relating            1.30          410            533.00
           Support                                                   to various contract assignments; investigated; and
                                                                     drafted e-mail response.
        11 Asset Sale & Disposition   Brian Heinimann      2/22/2010 Review of e-mails from M. Berkompas, Avaya                     0.60          410            246.00
           Support                                                   regarding Enterprise Solutions business contract
                                                                     assignments; investigated; and drafted responses.
        11 Asset Sale & Disposition   Brian Heinimann      2/22/2010 Updated Nortel action register based upon                      0.70          410            287.00
           Support                                                   correspondence from various counterparties to MEN
                                                                     Business contracts.
        11 Asset Sale & Disposition   Brian Heinimann      2/22/2010 Updated Huron database of MEN business contract                0.60          410            246.00
           Support                                                   notices based upon activity through 02/22, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/22/2010 Updated database of MEN business contract notices              0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/22, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/23/2010 Initiated update to database of Nortel mailings                2.20          410            902.00
           Support                                                   associated with Enterprise Solutions business
                                                                     contract assignments based upon mailings after
                                                                     12/18/2009.
        11 Asset Sale & Disposition   Brian Heinimann      2/23/2010 Review of e-mail correspondence associated with                0.30          410            123.00
           Support                                                   Enterprise Solutions business contract assignments,
                                                                     and drafted e-mail response to L. Sutherland, Avaya.

        11 Asset Sale & Disposition   Brian Heinimann      2/23/2010 Updated Huron database of MEN business contract                0.60          410            246.00
           Support                                                   notices based upon activity through 02/23, and
                                                                     circulated revised version to Nortel.
        11 Asset Sale & Disposition   Brian Heinimann      2/23/2010 Updated database of MEN business contract notices              0.20          410             82.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/23, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/23/2010 Preparation and call with C. Labonte, Nortel,                  0.60          410            246.00
           Support                                                   regarding action register of outstanding items
                                                                     associated with MEN Business contract assignments.

        11 Asset Sale & Disposition   Brian Heinimann      2/24/2010 Call with J. Nielsen, Avaya, regarding Enterprise              0.30          410            123.00
           Support                                                   Solutions business contract assignment process and
                                                                     transition of responsibilities to Avaya.
        11 Asset Sale & Disposition   Brian Heinimann      2/24/2010 Review of information on recent mailings relating to           1.50          410            615.00
           Support                                                   MEN business contract assignment, and initiated
                                                                     update of based upon Wave 3 mailings.
        11 Asset Sale & Disposition   Brian Heinimann      2/24/2010 Review of correspondence received from                         1.80          410            738.00
           Support                                                   counterparties to MEN business contract
                                                                     assignments, investigated, discussed with Huron
                                                                     director, and drafted responses.
        11 Asset Sale & Disposition   Brian Heinimann      2/24/2010 Updated action register based upon review of Wave 3            1.00          410            410.00
           Support                                                   mailings and determination of items satisfied via
                                                                     mailing.
        11 Asset Sale & Disposition   Brian Heinimann      2/25/2010 Call with L. Lipner, Cleary Gottlieb, regarding                0.10          410             41.00
           Support                                                   various items associated with Enterprise Solutions
                                                                     business contract assignments.
        11 Asset Sale & Disposition   Brian Heinimann      2/25/2010 Finalized update of MEN business contract                      1.60          410            656.00
           Support                                                   assignment database based upon Wave 3 mailing, and
                                                                     drafted e-mail to Nortel personnel with update.

        11 Asset Sale & Disposition   Brian Heinimann      2/25/2010 Preparation and call with C. Labonte, Nortel,                  0.60          410            246.00
           Support                                                   regarding action register relating to MEN business
                                                                     contract assignments.
        11 Asset Sale & Disposition   Brian Heinimann      2/25/2010 Updated database of MEN business contract notices              0.30          410            123.00
           Support                                                   relating to Canadian debtors and populated based
                                                                     upon activity through 02/25, and circulated revised
                                                                     version to Ernst & Young.
        11 Asset Sale & Disposition   Brian Heinimann      2/25/2010 Investigation and correspondence with counterparties           0.70          410            287.00
           Support                                                   with questions associated with assignment of MEN
                                                                     Business contracts.
        11 Asset Sale & Disposition   Brian Heinimann      2/25/2010 Updated action register based upon conference call             0.50          410            205.00
           Support                                                   with C. Labonte, Nortel, regarding MEN business
                                                                     contract assignments.
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Task Code   Task Code Description     Professional        Date         Description                                            Hours          Rate         Amount
        11 Asset Sale & Disposition   Brian Heinimann        2/26/2010 Updated Huron database of MEN business contract                0.50          410            205.00
           Support                                                     notices based upon activity through 02/26, and
                                                                       circulated revised version to Nortel.
        11 Asset Sale & Disposition   James Lukenda          2/11/2010 Nortel-review Huron manager updates on contract                0.20          725            145.00
           Support                                                     assignment communications.
        11 Asset Sale & Disposition   Matthew J. Fisher       2/1/2010 Analyzed updated reports for Ciena contract                    1.00          555            555.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher       2/2/2010 Analyzed updated reports for Ciena contract                    1.00          555            555.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher       2/3/2010 Analyzed updated reports for Ciena contract                    0.80          555            444.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher       2/4/2010 Analyzed updated reports for Ciena contract                    1.00          555            555.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher       2/8/2010 Analyzed updated reports for Ciena contract                    1.30          555            721.50
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/10/2010 Analyzed updated reports for Ciena contract                    0.50          555            277.50
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/16/2010 Analyzed updated reports for Ciena contract                    1.50          555            832.50
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/17/2010 Prepared budget for contract assignment work and               0.70          555            388.50
           Support                                                     discussed with R. Boris (Nortel).
        11 Asset Sale & Disposition   Matthew J. Fisher      2/18/2010 Prepared budget for contract assignment work and               0.90          555            499.50
           Support                                                     discussed with R. Boris (Nortel).
        11 Asset Sale & Disposition   Matthew J. Fisher      2/19/2010 Analyzed updated reports for Ciena contract                    1.00          555            555.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/22/2010 Analyzed updated reports for Ciena contract                    1.00          555            555.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/23/2010 Analyzed updated reports for Ciena contract                    0.50          555            277.50
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/23/2010 Met with outside counsel to discuss Avaya contract             0.80          555            444.00
           Support                                                     assignments and outstanding items to be completed
                                                                       by Nortel.
        11 Asset Sale & Disposition   Matthew J. Fisher      2/24/2010 Analyzed updated reports for Ciena contract                    1.10          555            610.50
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
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Task Code   Task Code Description     Professional        Date            Description                                              Hours          Rate         Amount
        11 Asset Sale & Disposition   Matthew J. Fisher      2/25/2010 Analyzed updated reports for Ciena contract                         0.80          555             444.00
           Support                                                     assumption exercise; prepared response to
                                                                       counterparty inquiries regarding consent letter; met
                                                                       with project manager to discuss outstanding items
                                                                       with Nortel legal team and outside counsel.
        11 Asset Sale & Disposition   Michael Scannella       2/1/2010 Meeting with Huron Manager to discuss management                    0.80          335             268.00
           Support                                                     of Avaya accounts and reporting methods and tools.

        11 Asset Sale & Disposition   Michael Scannella       2/4/2010 Reviewed new messages related to the Avaya                          0.70          335             234.50
           Support                                                     accounts and summarized activity for manager
                                                                       review.
        11 Asset Sale & Disposition   Michael Scannella       2/4/2010 Cross referenced new list of Avaya counterparties                   0.70          335             234.50
           Support                                                     with master list of legal counsel to determine if
                                                                       additional noticing was required.
        11 Asset Sale & Disposition   Michael Scannella       2/5/2010 Updated master record for Ciena contracts to reflect                0.70          335             234.50
           Support                                                     consents and objections received.
        11 Asset Sale & Disposition   Michael Scannella       2/5/2010 Follow up e-mail with R. Bernard (Nortel) discussing                1.00          335             335.00
           Support                                                     counterparty analysis and the receipt of an e-mail
                                                                       related to the Ciena Contracts.
        11 Asset Sale & Disposition   Michael Scannella       2/5/2010 Review of e-mail correspondence regarding Avaya                     0.90          335             301.50
           Support                                                     contracts and providing update to Huron manager for
                                                                       review.
        15 Avoidance Actions /        Lee Sweigart           2/19/2010 Reviewed data compiled relating to payments made                    2.00          555            1110.00
           Reclamation Analysis                                        within 90 days prior to filing to determine process to
                                                                       investigate potential preference payments.

        16 Unsecured Claim Analysis Coley P. Brown               2/2/2010 Provided S. Galvis of Cleary and R. Boris of Nortel              1.00          410             410.00
                                                                          with initial analysis of multiple debtor duplicate
                                                                          claims.
        16 Unsecured Claim Analysis Coley P. Brown               2/2/2010 Reviewed the real estate status of 3 additional leases           1.50          410             615.00
                                                                          that had been recently rejected per Nortel.
        16 Unsecured Claim Analysis Coley P. Brown               2/3/2010 Updated the list of redundant claims that have either            1.60          410             656.00
                                                                          been tagged for objection or are fully redundant
                                                                          pending substantive objections.
        16 Unsecured Claim Analysis Coley P. Brown               2/3/2010 Reviewed and updated the real estate damage                      1.20          410             492.00
                                                                          calculations subject to the 502(b)(6) cap.
        16 Unsecured Claim Analysis Coley P. Brown               2/3/2010 Reviewed and updated the real estate lease expenses              1.10          410             451.00
                                                                          to break up types of rent and pass through costs.

        16 Unsecured Claim Analysis Coley P. Brown               2/3/2010 Reviewed and updated the real estate damage                      1.50          410             615.00
                                                                          calculations subject to the15% remaining terms not to
                                                                          exceed 3 years 502(b)(6) cap.
        16 Unsecured Claim Analysis Coley P. Brown               2/3/2010 Updated the real estate claims open items log and                1.20          410             492.00
                                                                          circulated to the real estate claims team.
        16 Unsecured Claim Analysis Coley P. Brown               2/8/2010 Corresponded with I. Hernandez of Cleary regarding               1.00          410             410.00
                                                                          additional amended and superseded claim objections.

        16 Unsecured Claim Analysis Coley P. Brown               2/8/2010 Reviewed the updated claims triage database                      1.40          410             574.00
                                                                          incorporating 366 newly filed claims since the last
                                                                          report.
        16 Unsecured Claim Analysis Coley P. Brown               2/8/2010 Reviewed the real estate qualitative claims chart                1.30          410             533.00
                                                                          provided by D. Riley of Cleary.
        16 Unsecured Claim Analysis Coley P. Brown               2/8/2010 Updated the claims bar date analysis and provided                1.10          410             451.00
                                                                          comments to R. Boris of Nortel and B. Hunt of Epiq.

        16 Unsecured Claim Analysis Coley P. Brown               2/9/2010 Reviewed the employee claims database and                        1.20          410             492.00
                                                                          provided comments to R. Boris and K. Ng of Nortel.

        16 Unsecured Claim Analysis Coley P. Brown               2/9/2010 Worked with Nortel employee claims review team to                1.40          410             574.00
                                                                          document claim assertions and supporting
                                                                          documentation on approximately 3,500 employee
                                                                          claims.
        16 Unsecured Claim Analysis Coley P. Brown               2/9/2010 Updated the real estate claims analysis with security            1.50          410             615.00
                                                                          deposit information provided by M. McCollom of
                                                                          Nortel.
        16 Unsecured Claim Analysis Coley P. Brown               2/9/2010 Reviewed and updated the real estate claims analysis             1.20          410             492.00
                                                                          with rent schedule information provided by M.
                                                                          McCollom of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown               2/9/2010 Corresponded with M. McCollom of Nortel                          1.60          410             656.00
                                                                          regarding prepetition real estate credits.
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Task Code   Task Code Description   Professional     Date          Description                                              Hours          Rate         Amount
        16 Unsecured Claim Analysis Coley P. Brown       2/9/2010 Created an equity claims analysis and provided it to              1.20          410            492.00
                                                                  R. Biak of Cleary.
        16 Unsecured Claim Analysis Coley P. Brown      2/10/2010 Reviewed and updated the claim group numbers to                   1.40          410            574.00
                                                                  group claims filed by the same claimant.
        16 Unsecured Claim Analysis Coley P. Brown      2/10/2010 Updated the employee claims template per comments                 1.10          410            451.00
                                                                  provided by K. Ng of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/10/2010 Corresponded with M. McCollom of Nortel                           1.10          410            451.00
                                                                  regarding real estate related invoices paid through
                                                                  3rd party vendor and outstanding postpetition
                                                                  invoices.
        16 Unsecured Claim Analysis Coley P. Brown      2/10/2010 Consolidated the employee claims reviewed and                     1.20          410            492.00
                                                                  documented by the Nortel employee claims team.
        16 Unsecured Claim Analysis Coley P. Brown      2/10/2010 Updated the open items and real estate claims                     1.40          410            574.00
                                                                  analysis and circulated to the sub group in advance of
                                                                  meeting.
        16 Unsecured Claim Analysis Coley P. Brown      2/11/2010 Provided R. Timberg of Nortel with U.S.                           1.10          410            451.00
                                                                  claims/leases guaranteed by NNL per request from R.
                                                                  Boris of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/12/2010 Updated the real estate 90 day payment analysis with              0.80          410            328.00
                                                                  all payments made in the 90 days preceding the
                                                                  Petition Dates to BLJC and JCI and provided it to A.
                                                                  Cerceo of Cleary.
        16 Unsecured Claim Analysis Coley P. Brown      2/12/2010 Corresponded with M. McCollom of Nortel                           1.10          410            451.00
                                                                  regarding the invoice level detail for the 90 day
                                                                  payments to BLJC and JCI.
        16 Unsecured Claim Analysis Coley P. Brown      2/12/2010 Call with A. Cerceo of Cleary regarding the proper                1.00          410            410.00
                                                                  15% 501(b)(6) calculation regarding lease 1684A
                                                                  which involves quarterly payments.
        16 Unsecured Claim Analysis Coley P. Brown      2/12/2010 Compiled and reviewed the employee claims                         1.20          410            492.00
                                                                  reviewed and documented to date by the Nortel
                                                                  employee claims team and provided to K. Ng of
                                                                  Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/16/2010 Documented the comments from Cleary regarding the                 1.30          410            533.00
                                                                  employee claims template and provided to Huron
                                                                  director.
        16 Unsecured Claim Analysis Coley P. Brown      2/16/2010 Worked with R. Eimer of Nortel to obtain JCI                      1.10          410            451.00
                                                                  invoice level detail for purposes of the real estate 90
                                                                  day payments.
        16 Unsecured Claim Analysis Coley P. Brown      2/17/2010 Corresponded with D. Riley and A. Cerceo regarding                1.10          410            451.00
                                                                  the landlord mitigation information received to date.

        16 Unsecured Claim Analysis Coley P. Brown      2/17/2010 Call with M. McCollom of Nortel to discuss certain                1.20          410            492.00
                                                                  issues with the real estate 90 day payments.

        16 Unsecured Claim Analysis Coley P. Brown      2/17/2010 Investigated scheduling information for certain                   1.30          410            533.00
                                                                  vendors per request from R. Boris of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/18/2010 Updated the Nortel real estate claims analysis chart              1.10          410            451.00
                                                                  and corresponding open items for purposes of the
                                                                  weekly sub group meeting.
        16 Unsecured Claim Analysis Coley P. Brown      2/18/2010 Worked with K. Ng of Nortel to update the claim                   0.90          410            369.00
                                                                  categories for certain claims that were incorrectly
                                                                  categorized.
        16 Unsecured Claim Analysis Coley P. Brown      2/18/2010 Reviewed the employee claim assertions and various                1.00          410            410.00
                                                                  employment benefit type summaries provided by
                                                                  Cleary.
        16 Unsecured Claim Analysis Coley P. Brown      2/19/2010 Corresponded with A. Tsai and B. Hunt of Epiq                     1.10          410            451.00
                                                                  regarding phone numbers or other contact
                                                                  information to obtain employee GIDs.
        16 Unsecured Claim Analysis Coley P. Brown      2/19/2010 Reviewed and compiled the employee claims and                     0.90          410            369.00
                                                                  assertions documented for the week by the employee
                                                                  claims review team and provided those results to K.
                                                                  Ng of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/19/2010 Corresponded with B. Morris of Nortel regarding                   1.20          410            492.00
                                                                  avoidable payments made to trade payable claimants.

        16 Unsecured Claim Analysis Coley P. Brown      2/22/2010 Reviewed and updated the real estate claims analysis              1.00          410            410.00
                                                                  with rent schedule information provided by M.
                                                                  McCollom of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/22/2010 Worked with Nortel to set up a call in number for                 1.10          410            451.00
                                                                  employees in order to obtain GID information.
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                       NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional     Date          Description                                                Hours          Rate         Amount
        16 Unsecured Claim Analysis Coley P. Brown      2/22/2010 Initiated work for T. Lightfoot of Nortel to confirm                1.10          410            451.00
                                                                  the GIDs and obtain missing GID information for
                                                                  approximately 3,500 employees who filed claims.

        16 Unsecured Claim Analysis Coley P. Brown      2/23/2010 Investigated the review status of claims where the                  1.40          410            574.00
                                                                  Nortel Est Source is Original Claim Value, yet the
                                                                  Nortel Est amounts is not the same as that claimed
                                                                  per request from K. Ng of Nortel.
        16 Unsecured Claim Analysis Coley P. Brown      2/23/2010 Call with T. Lightfoot and C. Gannon of Nortel to                   1.20          410            492.00
                                                                  discuss methodology in obtain missing GID
                                                                  information and employment history for employee
                                                                  claims.
        16 Unsecured Claim Analysis Coley P. Brown      2/23/2010 Updated and provided C. Gannon of Nortel with                       1.00          410            410.00
                                                                  employee claim information and other unique
                                                                  identifying characteristics in order to verify GIDs.

        16 Unsecured Claim Analysis Coley P. Brown      2/23/2010 Documented the employee claim meeting notes and                     0.90          410            369.00
                                                                  action items and takeaways for Huron.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Updated the real estate open items and issues log in                1.20          410            492.00
                                                                  preparation for weekly sub group meeting.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Initiated the matching of schedules to claims in order              1.30          410            533.00
                                                                  to capture those claims filed up through the NN
                                                                  CALA bar date.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Reviewed the deemed filed population and initiated                  1.50          410            615.00
                                                                  matching deemed filed schedules to claims filed up
                                                                  through NN CALA bar date.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Compiled and provided K. Ng and M. Robinson of                      1.30          410            533.00
                                                                  Nortel with suppressed claim images.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Corresponded with A. Cerceo of Cleary regarding                     1.10          410            451.00
                                                                  real estate claims at 485 Lexington lease.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Updated the Nortel deemed filed analysis given the                  1.00          410            410.00
                                                                  claims filed through the NN CALA claims bar date.

        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Met with Huron associate regarding the final                        1.30          410            533.00
                                                                  reconciliation of the schedules without CUD flags
                                                                  against the claims filed to date.
        16 Unsecured Claim Analysis Coley P. Brown      2/24/2010 Reviewed the JCI utility invoices and followed up                   1.20          410            492.00
                                                                  with Robert Eimer regarding bridge to lease IDs.

        16 Unsecured Claim Analysis Coley P. Brown      2/25/2010 Reviewed the comments provided by S. Galvis of                      1.20          410            492.00
                                                                  Cleary regarding the employee claims database and
                                                                  updated the template accordingly.
        16 Unsecured Claim Analysis Coley P. Brown      2/25/2010 Updated the real estate claims open items log and                   1.20          410            492.00
                                                                  circulated to the real estate claims team.
        16 Unsecured Claim Analysis Coley P. Brown      2/26/2010 Reviewed and compiled the employee claims and                       1.60          410            656.00
                                                                  assertions documented for the week by the employee
                                                                  claims review team and provided those results to K.
                                                                  Ng of Nortel.
        16 Unsecured Claim Analysis James Lukenda        2/4/2010 Nortel-update correspondence and workplan files,                    0.70          725            507.50
                                                                  status of claims matters.
        16 Unsecured Claim Analysis James Lukenda        2/5/2010 Nortel-call with Lazard regarding NGS analyses.                     0.30          725            217.50

        16 Unsecured Claim Analysis James Lukenda        2/5/2010 Nortel-call with Huron director, discuss items related              0.30          725            217.50
                                                                  to asset sales and claim support related to PBGC
                                                                  claim, NGS.
        16 Unsecured Claim Analysis James Lukenda        2/5/2010 Nortel-preparation for conference call with counsel                 1.20          725            870.00
                                                                  and Lazard regarding legal entity analysis, claims
                                                                  settlements, NGS etc.
        16 Unsecured Claim Analysis James Lukenda       2/10/2010 Nortel-call with Huron director regarding follow-up                 0.30          725            217.50
                                                                  on call with counsel et al., items related to liquidation
                                                                  analysis work stream and related matters.

        16 Unsecured Claim Analysis James Lukenda       2/10/2010 Nortel-conference call with Lazard, Cleary, et al.,                 1.20          725            870.00
                                                                  regarding PBGC claim, NGS reporting, and analysis
                                                                  of management and statutory reporting matters.

        16 Unsecured Claim Analysis James Lukenda       2/10/2010 Nortel-review file provided by R. Boris (Nortel)                    1.20          725            870.00
                                                                  regarding support and materials for conference call
                                                                  with creditor representatives.
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                       NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional     Date            Description                                              Hours          Rate         Amount
        16 Unsecured Claim Analysis James Lukenda       2/10/2010 Nortel-conference call to review claims status with                 2.20          725            1595.00
                                                                  creditor representatives.
        16 Unsecured Claim Analysis Joseph McKenna       2/1/2010 Review and revisions to multi-debtor duplicate                      2.50          335             837.50
                                                                  analysis prepared at the request of Cleary claims
                                                                  team.
        16 Unsecured Claim Analysis Joseph McKenna       2/5/2010 Researching and providing answers to questions                      1.50          335             502.50
                                                                  posed by Huron director regarding matching of a
                                                                  subset of the claims population to scheduled
                                                                  liabilities on the debtor's books and records.
        16 Unsecured Claim Analysis Joseph McKenna       2/8/2010 Applying group numbers to newly filed claims.                       0.90          335             301.50
                                                                  Group numbers used in analysis of claims and
                                                                  preparation of claims objections.
        16 Unsecured Claim Analysis Joseph McKenna       2/8/2010 Reconciling triage database prepared by K. Ng                       2.50          335             837.50
                                                                  (Nortel) to Huron's master claims database and
                                                                  updating to reflect changes in docketed information.

        16 Unsecured Claim Analysis Joseph McKenna          2/9/2010 Reviewing claims marked as amending / replacing /                0.70          335             234.50
                                                                     superseding previously filed claims.
        16 Unsecured Claim Analysis Joseph McKenna          2/9/2010 Preparing Huron triage database for review of newly              1.80          335             603.00
                                                                     filed amending claims and identification of additional
                                                                     objectionable claims based on redundancy.

        16 Unsecured Claim Analysis Joseph McKenna      2/10/2010 Reviewing newly filed claims docketed by Epiq as                    2.50          335             837.50
                                                                  amending, replacing, or superseding previously filed
                                                                  claims.
        16 Unsecured Claim Analysis Joseph McKenna      2/10/2010 Reviewing claims filed that have updated docketing                  2.60          335             871.00
                                                                  by Epiq as amending/replacing/superseding
                                                                  previously filed claims.

        16 Unsecured Claim Analysis Joseph McKenna      2/11/2010 Manipulating Huron claims triage database to prepare                1.30          335             435.50
                                                                  it for electronic search for duplicates within
                                                                  remaining claims population.
        16 Unsecured Claim Analysis Joseph McKenna      2/11/2010 Performing review and investigation of Huron claims                 2.50          335             837.50
                                                                  triage database for newly filed duplicate claims.

        16 Unsecured Claim Analysis Joseph McKenna      2/12/2010 Completing review of newly filed claims to identify                 2.40          335             804.00
                                                                  remaining duplicate and amended or superseded
                                                                  claims within the claims database.
        16 Unsecured Claim Analysis Joseph McKenna      2/12/2010 Retrieving and uploading claims images for all                      0.70          335             234.50
                                                                  claims filed after that CALA claims bar date.
        16 Unsecured Claim Analysis Joseph McKenna      2/12/2010 Reconciling and updating Huron's master claims                      0.90          335             301.50
                                                                  database to reflect filing of objections, newly filed
                                                                  claims, changes in docketed information, and
                                                                  matching of schedules.
        16 Unsecured Claim Analysis Joseph McKenna      2/15/2010 Creating a Huron Triage report update file for K. Ng                1.40          335             469.00
                                                                  (Nortel) to upload into Nortel claims database.

        16 Unsecured Claim Analysis Joseph McKenna      2/22/2010 Updating Huron master claims triage database for                    1.90          335             636.50
                                                                  newly filed claims and objections.
        16 Unsecured Claim Analysis Joseph McKenna      2/23/2010 Reviewing US Entity Analysis templates and                          0.70          335             234.50
                                                                  discussing potential updates for the templates.
        16 Unsecured Claim Analysis Joseph McKenna      2/25/2010 Reviewing deemed filed population and confirming                    1.80          335             603.00
                                                                  that no claimants listed as having deemed filed
                                                                  claims have submitted actual proofs of claims.

        16 Unsecured Claim Analysis Joseph McKenna      2/26/2010 Reviewing deemed filed population to determine                      1.80          335             603.00
                                                                  whether any deemed filed claimants have filed actual
                                                                  proofs of claim.
        16 Unsecured Claim Analysis Lee Sweigart         2/1/2010 Reviewed action items for weekly claims                             0.50          555             277.50
                                                                  management call for Nortel.
        16 Unsecured Claim Analysis Lee Sweigart         2/2/2010 Reviewed updated claims extract to indentify newly                  0.50          555             277.50
                                                                  filed claims and claims resolutions.
        16 Unsecured Claim Analysis Lee Sweigart         2/3/2010 Reviewed employee template design and review                        1.50          555             832.50
                                                                  process to provide updates and comments.
        16 Unsecured Claim Analysis Lee Sweigart         2/3/2010 Reviewed real estate claims and status update                       1.00          555             555.00
                                                                  provided by Huron manager.
        16 Unsecured Claim Analysis Lee Sweigart         2/3/2010 Reviewed Nortel objection calendar provided by                      0.50          555             277.50
                                                                  Cleary and incorporated into workplan.
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                       NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional        Date            Description                                             Hours          Rate         Amount
        16 Unsecured Claim Analysis Lee Sweigart            2/3/2010 Prepared claims stratification and convenience class               2.00          555            1110.00
                                                                     analysis to indentify potential threshold.
        16 Unsecured Claim Analysis Lee Sweigart            2/5/2010 Prepared template to electronically capture salient                1.00          555             555.00
                                                                     data points and information from proof of claim
                                                                     forms and provided to R. Boris, Nortel.
        16 Unsecured Claim Analysis Lee Sweigart           2/10/2010 Reviewed and revised real estate claims analysis and               1.00          555             555.00
                                                                     open issues.
        16 Unsecured Claim Analysis Lee Sweigart           2/11/2010 Investigated process used to determine active vs.                  1.00          555             555.00
                                                                     dormant entities and provided to Huron director.
        16 Unsecured Claim Analysis Lee Sweigart           2/12/2010 Performed detailed review of the employee database                 2.00          555            1110.00
                                                                     used to track the claims review process and provided
                                                                     feedback.
        16 Unsecured Claim Analysis Lee Sweigart           2/12/2010 Compiled relevant supporting documentation that                    2.00          555            1110.00
                                                                     was used to schedule employee obligations in NNI's
                                                                     Schedule F to determine how information can assist
                                                                     claims process.
        16 Unsecured Claim Analysis Lee Sweigart           2/15/2010 Reviewed comments provided by Cleary and                           0.90          555             499.50
                                                                     incorporated into employee claims review process.

        16 Unsecured Claim Analysis Lee Sweigart           2/15/2010 Prepared workplan to address process to be used to                 1.10          555             610.50
                                                                     validate employee claims.
        16 Unsecured Claim Analysis Lee Sweigart           2/15/2010 Reviewed detailed list of claims to be included in                 1.00          555             555.00
                                                                     next round of omnibus objections and provided
                                                                     comments to Huron team.
        16 Unsecured Claim Analysis Lee Sweigart           2/16/2010 Prepared for call with Nortel and Cleary to discuss                0.50          555             277.50
                                                                     employee claim review.
        16 Unsecured Claim Analysis Lee Sweigart           2/16/2010 Compiled summary of employee obligations included                  0.50          555             277.50
                                                                     in NNI Schedule F and related methodology.

        16 Unsecured Claim Analysis Lee Sweigart           2/17/2010 Performed detailed review of materials to be sent to               1.50          555             832.50
                                                                     the creditor financial advisors and provided
                                                                     comments to R. Boris, Nortel.
        16 Unsecured Claim Analysis Lee Sweigart           2/17/2010 Reviewed current status of employee claim review to                1.00          555             555.00
                                                                     identify and resolve open issues.
        16 Unsecured Claim Analysis Lee Sweigart           2/17/2010 Performed weekly review of claims extract provided                 0.50          555             277.50
                                                                     by Epiq.
        16 Unsecured Claim Analysis Lee Sweigart           2/22/2010 Prepared detailed analysis that compared various                   2.50          555            1387.50
                                                                     categories included in proofs of claim with the data
                                                                     compiled for the various employee obligations
                                                                     included in Schedule F to determine appropriate
                                                                     methodology to valid.
        16 Unsecured Claim Analysis Lee Sweigart           2/23/2010 Reviewed schedule matching database and updated                    1.50          555             832.50
                                                                     results of matching based on newly filed claims for
                                                                     recent bar dates.
        16 Unsecured Claim Analysis Lee Sweigart           2/24/2010 Prepared for employee meeting with Cleary and                      1.10          555             610.50
                                                                     Nortel.
        16 Unsecured Claim Analysis Lee Sweigart           2/24/2010 Performed detailed review of trade payable                         1.00          555             555.00
                                                                     reconciliation workbooks to assign appropriate
                                                                     resolution strategy and claims estimate.
        16 Unsecured Claim Analysis Lee Sweigart           2/25/2010 Discussion with R. Boris, Nortel, to discuss current               1.00          555             555.00
                                                                     status of claims management issues and workstreams
                                                                     for next week.
        16 Unsecured Claim Analysis Matthew J. Fisher      2/15/2010 Met with project manager and associates to discuss                 1.20          555             666.00
                                                                     progress and outstanding issues regarding employee
                                                                     and rejection damage claim analyses.
        16 Unsecured Claim Analysis Michael Scannella       2/1/2010 Discussion with Huron manager to review Cleary's                   0.90          335             301.50
                                                                     thoughts related to 502(b)(6) calculations and
                                                                     methodology for building new information into
                                                                     analysis. Also discussed how to address situations
                                                                     with less then 1 year worth of rent and quarterly
                                                                     payments (instead of monthly).

        16 Unsecured Claim Analysis Michael Scannella          2/1/2010 Brought support data for 502(b)(6) analysis into main           2.30          335             770.50
                                                                        working file and linked all information to provide
                                                                        support for analysis of newly provided detail.
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                       NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional        Date             Description                                             Hours          Rate         Amount
        16 Unsecured Claim Analysis Michael Scannella          2/1/2010 Incorporated real estate data provided from Nortel               2.40          335            804.00
                                                                        into 502(b)(6) analysis, including specific rent
                                                                        escalations, breakdown of operating expenses, and
                                                                        excluding certain items not to be considered in
                                                                        502(b)(6) calculations (utilities, etc.).

        16 Unsecured Claim Analysis Michael Scannella          2/2/2010 Reviewed 502(b)(6) detail to identify items that were            1.80          335            603.00
                                                                        incorrectly included as part of the damages
                                                                        calculation and removed. Also added tax items that
                                                                        were incorrectly excluded.
        16 Unsecured Claim Analysis Michael Scannella          2/2/2010 Investigated missing damages detail for leases related           1.70          335            569.50
                                                                        to claims. Created issues schedule to identify
                                                                        outstanding items and track adjustments made.

        16 Unsecured Claim Analysis Michael Scannella          2/2/2010 Performed 502(b)(6) analysis on three additional                 2.10          335            703.50
                                                                        leases (newly supplied support detail) to investigate
                                                                        potential damages.
        16 Unsecured Claim Analysis Michael Scannella          2/3/2010 Updated 502(b)(6) analysis with new follow-up items              1.30          335            435.50
                                                                        as well as investigation related to missing items on
                                                                        real estate workbook.
        16 Unsecured Claim Analysis Michael Scannella          2/3/2010 Review summary information related to 502(b)(6)                  1.30          335            435.50
                                                                        analysis and ensure properties are properly linked to
                                                                        their respective claims.
        16 Unsecured Claim Analysis Michael Scannella          2/4/2010 Investigated 502(b)(6) POC items allocated as                    0.70          335            234.50
                                                                        "other" to determine if they are pre or post petition.

        16 Unsecured Claim Analysis Michael Scannella          2/5/2010 Analyzed proofs of claim related to real estate to               1.80          335            603.00
                                                                        identify expenses incorrectly included in 502(b)(6)
                                                                        calculations.
        16 Unsecured Claim Analysis Michael Scannella          2/5/2010 Investigated 502(b)(6) POC items allocated as                    1.40          335            469.00
                                                                        "other" to determine if they are pre or post petition.

        16 Unsecured Claim Analysis Michael Scannella       2/5/2010 Reviewed 502(b)(6) formulas to confirm information                  0.70          335            234.50
                                                                     was being calculated correctly.
        16 Unsecured Claim Analysis Michael Scannella       2/8/2010 Updated 502(b)(6) calculations to reflect partial                   1.90          335            636.50
                                                                     months rather then rounding of months in order to
                                                                     calculate appropriate 15% dollar amount.
        16 Unsecured Claim Analysis Michael Scannella       2/9/2010 Added claim number and lease ID to spreadsheet                      0.80          335            268.00
                                                                     provided by A. Cerceo (Nortel) to link Nortel's list of
                                                                     properties to 502(b)(6) analysis.
        16 Unsecured Claim Analysis Michael Scannella       2/9/2010 Incorporated newly filed claims into real estate                    2.20          335            737.00
                                                                     analysis and performed 502(b)(6) analysis on
                                                                     respective properties.
        16 Unsecured Claim Analysis Michael Scannella       2/9/2010 Review all newly filed unassigned claims to identify                0.80          335            268.00
                                                                     possible real estate claims to be incorporated into
                                                                     502(b)(6) analysis.
        16 Unsecured Claim Analysis Michael Scannella       2/9/2010 Updated 502(b)(6) analysis with comments from                       1.00          335            335.00
                                                                     Cleary regarding each of the real estate claims.
        16 Unsecured Claim Analysis Michael Scannella      2/11/2010 Participated in weekly 502(b)(6) call to discuss open               1.00          335            335.00
                                                                     items and new work streams and analysis.
        16 Unsecured Claim Analysis Michael Scannella      2/15/2010 Performed analysis of 90 day payments related to                    0.80          335            268.00
                                                                     BLJC for 502(b)(6) analysis.
        16 Unsecured Claim Analysis Michael Scannella      2/16/2010 Reviewed 90 day payments for BLJC and added                         1.30          335            435.50
                                                                     invoice numbers and dates.
        16 Unsecured Claim Analysis Michael Scannella      2/17/2010 Researched amended/duplicate real estate claims and                 0.90          335            301.50
                                                                     provided detail for 502(b)(6) analysis.
        16 Unsecured Claim Analysis Michael Scannella      2/17/2010 Researched new 502(b)(6) claims and populated                       1.20          335            402.00
                                                                     related information for analysis.
        16 Unsecured Claim Analysis Michael Scannella      2/17/2010 Investigated individual invoices for 90 day payments                1.80          335            603.00
                                                                     made to BLJC and identified those that did not
                                                                     appear to be ordinary course or monthly rent
                                                                     payments.
        16 Unsecured Claim Analysis Michael Scannella      2/18/2010 Performed analysis at invoice level for all 90 day                  1.80          335            603.00
                                                                     payments made to JCI for 502(b)(6) analysis.
        16 Unsecured Claim Analysis Michael Scannella      2/19/2010 Updated 502(b)(6) analysis with newly filed claims                  1.40          335            469.00
                                                                     and amended/duplicate claims.
        16 Unsecured Claim Analysis Michael Scannella      2/19/2010 Completed analysis of JCI 90 day payments for                       1.10          335            368.50
                                                                     purposes of the 502(b)(6) database.
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                       NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional        Date         Description                                              Hours          Rate         Amount
        16 Unsecured Claim Analysis Michael Scannella      2/25/2010 Performed schedule to claims matching exercise for               1.80          335            603.00
                                                                     newly filed claims (A-H).
        16 Unsecured Claim Analysis Michael Scannella      2/25/2010 Performed schedule to claims matching exercise for               1.10          335            368.50
                                                                     newly filed claims (I - P).
        16 Unsecured Claim Analysis Michael Scannella      2/26/2010 Reviewed docket to perform updates for the                       1.20          335            402.00
                                                                     settlement / setoff tracker.
        16 Unsecured Claim Analysis Michael Scannella      2/26/2010 Performed schedule to claims matching exercise for               1.10          335            368.50
                                                                     newly filed claims (Q-Z).
        17 Intercompany Claims      Brian Heinimann         2/9/2010 Met with Huron director to discuss intercompany                  0.50          410            205.00
                                                                     balances, and review of relevant information
                                                                     provided by Huron director.
        17 Intercompany Claims      Brian Heinimann        2/11/2010 Review of materials relating to intercompany                     0.70          410            287.00
                                                                     balances, and met with Huron director to discuss.
        17 Intercompany Claims      Brian Heinimann        2/11/2010 Prepared initial analysis of intercompany balances               1.80          410            738.00
                                                                     between US entities and UK entities, per request of
                                                                     Huron director.
        17 Intercompany Claims      Brian Heinimann        2/11/2010 Prepared summary page detailing intercompany                     0.90          410            369.00
                                                                     balances between US entities and UK entities, per
                                                                     request of Huron director.
        17 Intercompany Claims      Brian Heinimann        2/12/2010 Preparation of materials and met with Huron director             0.60          410            246.00
                                                                     to discuss updated analysis of intercompany balances.

        17 Intercompany Claims      Brian Heinimann        2/12/2010 Revised analysis of intercompany balances between                1.40          410            574.00
                                                                     US entities and UK entities, based upon discussions
                                                                     with Huron director.
        17 Intercompany Claims      Brian Heinimann        2/16/2010 Call with Nortel and Huron director regarding                    0.70          410            287.00
                                                                     intercompany balances between Nortel Networks,
                                                                     Inc. and its subsidiaries.
        17 Intercompany Claims      Brian Heinimann        2/16/2010 Update of intercompany analysis based upon                       0.90          410            369.00
                                                                     comments from Huron director, and circulated
                                                                     revised version.
        17 Intercompany Claims      Brian Heinimann        2/16/2010 Review of various files received from Ernst & Young              0.60          410            246.00
                                                                     pertaining to intercompany balances; reviewed
                                                                     against presentation on intercompany balances; and
                                                                     met with Huron director to discuss.
        17 Intercompany Claims      Brian Heinimann        2/16/2010 Preparation and call with D. Saldinha, Ernst &                   0.50          410            205.00
                                                                     Young, to discuss files relating to intercompany
                                                                     balances.
        17 Intercompany Claims      Brian Heinimann        2/16/2010 Prepared updated analysis of intercompany claims                 2.20          410            902.00
                                                                     between US and UK entities, based upon updated
                                                                     information received reflecting reconciliations
                                                                     through September 30, 2009.
        17 Intercompany Claims      Brian Heinimann        2/17/2010 Prepared list of intercompany trading pairs with                 0.80          410            328.00
                                                                     request for assistance in identifying support for
                                                                     balances, and drafted e-mail to D. Saldinha, Ernst &
                                                                     Young, regarding same.
        17 Intercompany Claims      Brian Heinimann        2/17/2010 Finalized updated analysis of intercompany claims                1.30          410            533.00
                                                                     between US and UK entities, based upon updated
                                                                     information received reflecting reconciliations
                                                                     through September 30, 2009.
        17 Intercompany Claims      Brian Heinimann        2/18/2010 Call with D. Saldinha, Ernst & Young, regarding                  0.50          410            205.00
                                                                     intercompany balances and request for detail on
                                                                     various intercompany balances.
        17 Intercompany Claims      Brian Heinimann        2/23/2010 Review of information received from D. Saldinha,                 2.40          410            984.00
                                                                     Ernst & Young, and prepared draft of file detailing
                                                                     pre-petition activity between various Nortel entities.

        17 Intercompany Claims      Brian Heinimann        2/25/2010 Update of intercompany balance matrix based upon                 1.70          410            697.00
                                                                     comments by D. Sugarman, Cleary Gottlieb, and met
                                                                     with Huron director to discuss.
        17 Intercompany Claims      Brian Heinimann        2/25/2010 Call with L. Schweitzer and D. Sugarman, Cleary                  1.00          410            410.00
                                                                     Gottlieb; and Huron director regarding intercompany
                                                                     payables and receivables.
        17 Intercompany Claims      Brian Heinimann        2/26/2010 Call with Huron director and Cleary Gottlieb                     0.80          410            328.00
                                                                     regarding intercompany balances between Nortel
                                                                     filing entities.
        17 Intercompany Claims      James Lukenda          2/23/2010 Nortel-call with Huron director regarding                        0.50          725            362.50
                                                                     coordination with Cleary regarding interco and legal
                                                                     entity analysis.
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                         NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional        Date            Description                                               Hours          Rate         Amount
        17 Intercompany Claims      Matthew J. Fisher       2/2/2010 Analyzed intercompany positions of trading pairs                     1.40          555             777.00
                                                                     involving US-owned entities in preparation for
                                                                     discussion with outside counsel.
        17 Intercompany Claims      Matthew J. Fisher       2/5/2010 Analyzed out of balance file and prepared summary                    1.50          555             832.50
                                                                     of US trading pair prepetition balances per request of
                                                                     outside counsel.
        17 Intercompany Claims      Matthew J. Fisher      2/15/2010 Prepared summary of intercompany trading pairs                       0.80          555             444.00
                                                                     between US entities and EMEA entities.
        17 Intercompany Claims      Matthew J. Fisher      2/24/2010 Analyzed Gemini database of intercompany claims,                     2.40          555            1332.00
                                                                     discussed certain items with M. Giaberardino
                                                                     (Nortel) and prepared responses to inquiries from J.
                                                                     Byam and J. Loatman (CGSH).
        17 Intercompany Claims      Matthew J. Fisher      2/25/2010 Prepared report of intercompany claims between US                    0.90          555             499.50
                                                                     and EMEA trading pairs per request of D. Sugarman
                                                                     (CGSH).
        17 Intercompany Claims      Matthew J. Fisher      2/25/2010 Prepared responses to inquiries from J. Loatman                      0.60          555             333.00
                                                                     (CGSH) regarding intercompany claims.
        17 Intercompany Claims      Matthew J. Fisher      2/26/2010 Prepared correspondence to M. Giamberardino                          0.40          555             222.00
                                                                     (Nortel) documenting inquiries pertaining to the
                                                                     Gemini database.
        17 Intercompany Claims      Matthew J. Fisher      2/26/2010 Analyzed Gemini database of intercompany claims                      1.20          555             666.00
                                                                     and prepared responses to inquiries from J. Byam and
                                                                     J. Loatman (CGSH).
        17 Intercompany Claims      Matthew J. Fisher      2/26/2010 Met with J. Byam and J. Loatman (CGSH) to discuss                    0.60          555             333.00
                                                                     intercompany claims.
        17 Intercompany Claims      Matthew J. Fisher      2/26/2010 Prepared correspondence to G. Boone and C.                           0.30          555             166.50
                                                                     Glaspell (Nortel) regarding due diligence requests on
                                                                     intercompany claims balances.
        25 Case Administration      Coley P. Brown         2/28/2010 Updated and finalized February detailed time report                  2.80          410            1148.00
                                                                     describing time devoted for the fee application.

        25 Case Administration      James Lukenda          2/19/2010 Nortel-administration, update file, review open                      1.10          725             797.50
                                                                     correspondence, coordination on workstreams.
        25 Case Administration      Joseph McKenna         2/11/2010 Meeting with Huron team to address status of various                 0.30          335             100.50
                                                                     workstreams and set out work plan for upcoming
                                                                     weeks.
        25 Case Administration      Lee Sweigart            2/1/2010 Meeting with Huron Nortel team discuss current                       0.50          555             277.50
                                                                     status of workstreams.
        25 Case Administration      Lee Sweigart           2/23/2010 Updated Huron workplan for various workstreams                       1.00          555             555.00
                                                                     based on current status.
        25 Case Administration      Lee Sweigart           2/25/2010 Prepared Huron workplan for week of 12/28/09.                        0.50          555             277.50
        25 Case Administration      Lee Sweigart           2/26/2010 Discussion with Huron team to discuss outstanding                    0.50          555             277.50
                                                                     workstreams and plan for week of March 1.

        25 Case Administration      Michael Scannella       2/1/2010 Huron team meeting to discuss future work flow and                   0.80          335             268.00
                                                                     assignment of tasks.
        26 Travel Time              Brian Heinimann        2/15/2010 Travel time beyond initial hour from ORD to RDU.                     2.00          410             820.00

        26 Travel Time              Brian Heinimann        2/19/2010 Travel time beyond initial hour from RDU to                          2.00          410             820.00
                                                                     Chicago.
        26 Travel Time              Brian Heinimann        2/22/2010 Travel time beyond initial hour from ORD to RDU.                     2.00          410             820.00

        26 Travel Time              Brian Heinimann        2/25/2010 Travel time beyond initial hour from RDU to                          2.00          410             820.00
                                                                     Chicago.
        26 Travel Time              Coley P. Brown          2/8/2010 Travel time beyond initial hour from ORD to RDU.                     2.00          410             820.00

        26 Travel Time              Coley P. Brown         2/11/2010 Travel time beyond initial hour from RDU to ORD.                     2.00          410             820.00

        26 Travel Time              Coley P. Brown         2/15/2010 Travel time beyond initial hour from ORD to RDU.                     2.00          410             820.00

        26 Travel Time              Coley P. Brown         2/19/2010 Travel time beyond initial hour from RDU to ORD.                     2.00          410             820.00

        26 Travel Time              Coley P. Brown         2/22/2010 Travel time beyond initial hour from ORD to RDU.                     2.00          410             820.00

        26 Travel Time              Coley P. Brown         2/25/2010 Travel time beyond initial hour from RDU to ORD.                     2.00          410             820.00

        26 Travel Time              Joseph McKenna             2/1/2010 Travel time in excess of initial hour from residence in           2.00          335             670.00
                                                                        New York, NY (LGA) to Chicago office (ORD).
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                         NORTEL EXHIBIT A-TIME DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Task Code   Task Code Description   Professional        Date            Description                                            Hours            Rate         Amount
        26 Travel Time              Joseph McKenna          2/4/2010 Travel time in excess of initial hour from Chicago                  2.00          335             670.00
                                                                     office (ORD) to residence in New York, NY (LGA)
                                                                     while traveling on Nortel engagement.
        26 Travel Time              Joseph McKenna          2/8/2010 Travel time in excess of initial hour from residence in             2.00          335             670.00
                                                                     New York, NY (EWR) to Nortel offices in RTP, NC
                                                                     (RDU).
        26 Travel Time              Joseph McKenna         2/11/2010 Travel time in excess of initial hour from Nortel                   2.00          335             670.00
                                                                     office in Raleigh, NC (RDU) to residence in Lower
                                                                     Manhattan (EWR).
        26 Travel Time              Joseph McKenna         2/22/2010 Travel time in excess of initial hour from residence in             2.00          335             670.00
                                                                     Lower Manhattan (EWR) to Nortel office in RTP
                                                                     (RDU).
        26 Travel Time              Joseph McKenna         2/24/2010 Travel time in excess of initial hour from Nortel                   2.00          335             670.00
                                                                     office (RDU) to residence in Lower Manhattan
                                                                     (EWR).
        26 Travel Time              Lee Sweigart           2/18/2010 Travel time beyond initial hour from IND to RDU.                    1.00          555             555.00

        26 Travel Time              Lee Sweigart           2/22/2010 Travel time beyond initial hour from RDU to IND.                    1.00          555             555.00

        26 Travel Time              Matthew J. Fisher      2/15/2010 Travel time beyond initial hour from MDW to RDU.                    2.00          555            1110.00

        26 Travel Time              Matthew J. Fisher      2/19/2010 Travel time beyond initial hour from RDU to MDW.                    2.00          555            1110.00

        26 Travel Time              Matthew J. Fisher      2/22/2010 Travel time beyond initial hour from MDW to RDU.                    2.00          555            1110.00

        26 Travel Time              Matthew J. Fisher      2/25/2010 Travel time beyond initial hour from RDU to MDW.                    2.40          555            1332.00

        26 Travel Time              Michael Scannella          2/1/2010 Travel time beyond initial hour from EWR to ORD.                 2.00          335             670.00

        26 Travel Time              Michael Scannella          2/4/2010 Travel time beyond initial hour from ORD to EWR.                 2.00          335             670.00

        26 Travel Time              Michael Scannella          2/8/2010 Travel time beyond initial hour from EWR to RDU.                 2.00          335             670.00

        26 Travel Time              Michael Scannella      2/11/2010 Travel time beyond initial hour from RDU to EWR.                    2.00          335             670.00

        26 Travel Time              Michael Scannella      2/15/2010 Travel time beyond initial hour from EWR to RDU.                    2.00          335             670.00

        26 Travel Time              Michael Scannella      2/18/2010 Travel time beyond initial hour from RDU to EWR.                    2.00          335             670.00

        26 Travel Time              Michael Scannella      2/22/2010 Travel time beyond initial hour from EWR to RDU.                    2.00          335             670.00

        26 Travel Time              Michael Scannella      2/24/2010 Travel time beyond initial hour from RDU to EWR.                    2.00          335             670.00



                                                        Total                                                                          669.70                $   281,786.00
